Case 23-10831-MFW   Doc 3-3   Filed 06/27/23   Page 1 of 35




                     EXHIBIT C
             Case 23-10831-MFW       Doc 3-3        Filed 06/27/23   Page 2 of 35



                                                                              Execution Version




                        MANUFACTURING        SUPPLY     AGREEMENT




                                          between




                         Lordstown   EV Corporation    (“Company”)




                                            and




                          Foxconn    EV System LLC (“Supplier”)




4891-0407-6296,29
    20 22TW-L-K-2412       “2

UTM A
                Case 23-10831-MFW                                        Doc 3-3                 Filed 06/27/23                         Page 3 of 35




                                                                            Table      of Contents
                                                                                                                                                                                    Page

1.        DeRMITIONS |...                         cede dtsdabdetteesescettatbeneessetanttobtiittdat llabtessesssedibstenssossetteatlihtlettdttdeessssesettstessessventdebtaaptuent etd 1
2.        MZ TUTE CHITIN g BSTCCS eee                              re eee              eee          eT           ssscedabdfecensncett dente tlt ltdescesssectsttensesened detebteent tants 5
          a.            Engagement oo eeesesesessseeseesseeescscsescecesescsesesesscscsesecessscececeseseseneseeeescaessseessacscaeeeeeeseaseceeeecacaeeeeseaeaseeeees 5

          b.            Manufacturing Schedule; Capacity. ..ccccssessssssessecsseseeseceesessceseesesssecseseseseesscesueseseseeseseseensseeesseneneeesees 5
          c             Procurement Of Component ......ecccesesseseceeessseceeseseeeeseseseesesececsesecesecsenecussesecesscseceseeseseseeseceseeseaeeeeeeneenseeees 6

          d            OU 151Tee                                                       eee                                       Sere                            ie          eee a a         8
          e             Completion of Manufacture; Inspection, 0... eeseeessseceeseseseseeseseseeseseseevesececscsesseseueseseeeeneceeseaesseecsentenees 8
          f             Non-Satis faction of Acceptance Standards. .......ccccccsccssssssssesssesssesesessescseseseseseseseceseeeseseseensnenenseseeeeeeseaees 9
          g.            Packaging and Shipping. ......c.ccececcscescsesssesesesesesesesessescscsencseseseseseseseseseceseeeenessscueseseseacseseaeseseaeseseaeeneeeneneeeees 9
          h             Other Items to be Supplied by Company. ........cccccesesssessseseseseceseseceseseesesesesceesescaeseseseaeseseeeeeseeeeeseeeeeeeeees 9
          i.           Joh hhiobrr cis          PTA LANE OR ER EIOL RAE OO AM OOO              DORE                eA            LRA                       ee      een       TORS AR EER 9
          j.            COPA                 nS pect                  eee                                      e ee eee eee         cee                    ee eee            ee.           10
          k.            Launch Responsibilities. 2... cecesecsesesssssseseseesesesscnesesscsecessesecessesenesessesececsesesesecseaesueseseceeneneaeseeeeaeeeseeaeenss 10
          1.            Post-Delivery Services. ...c...ccssssscssssscssssnsessscsssessenssecetecncersscnssscscnesenssscnsdvessacnssesusoecessescaveseneaceeessaecssseseensues 10
          m.            Post-Sale Responsibilities                      0... secsesessesessesessessesessesscsessesscsesasseeaesussecsesucsecsesucsesseseesssneaesnsseenseeeneanees 10
          n.            Sot
                          Ad (edd OCR                                                   cee                               en                                ee         eee           ee 10
          0.            JOUVEcoMA' (oJ 00 (eg SEAMS DAES R EAL                   Le            CEEOL        Le                ESTEE                  AES   ee         ERNE CREO            10
3         CR eTta TT COV ES                     a ceneeanccnnneee rte        i sneer       ec cececusscerarectaettuabldehsaetidabiicrecssstessenseceettet
                                                                                                                                     dep teet itt ldcccsnereseesree

          a.            Compliance with Law. ....
          b.            Reporting Obligations. ....
          ¢.            Materials Declaration. .....
          d.            Permits. oo. eeeeeeeeeees
          e             Incentives

          f.            On-Site Component Providers. oo... ceesessssssssesseseseseseesesesscsesescsesessesecescsesenesucseseseeseneeeeaeseseeseneaeensneaeeeneaes 12
4.        Quality; Wiarranty|20d Rene                             year                    cree eee                                     eee     eee         eee       eT                    12
          a.            Quality ASSULANCO...                         ec eseseesessessesessesessesscnessestesessesessesusssencssassnssessssucsessesusaesusseessassesnsateaeeneaeeseeneneeess 12
          b.            Supplier |\Wiarrantycperccacer.......                  LN Sree              ETT          eae dek OTERO                              coal OEE         EY IEE 12
          C.            Company Wate ty                         ee          eee ee eer             cee    een           ee    ec a ee ee                                                   13

          d.            WaT Cy oO                      ty       eee                ee ene cere       e naan eee                 ee eT                            ALU                       13
          €             Vetricle Warranty. ......ceecesessssssssesssssesesesesesesesesecesesesnsessssesssessssseseseseseacseseseaeseseeesesecesseesnseeeeeesseeeseseaeaenenees 13
          f             Allocation of Warranty Claim Responsibility... cecsecessssessseesecteneseseseeeseseceeeseseeeseeeeeseeneseesenesenenees 13
          g.            Repair or Replacement of Defective Vehicle... eeesesssssseeesesseecescsesseeseseeeseseseeeseseeeseseeseeeneneaenenees 14
          h.            Exclusive Warranty, ....c.cecscecsesssessssessssesesesessesesecscsesusscsessssesesussesesesuencsesussesesusecsececeseaeeesneaeseceeseceeneneaeseeneaes 14
5.        Recall and Other Service Campaigns. ...eccecssssssssssssessseesesesessesssesssseseencsesessenessseeseseseeeesessseseseseeaeseeseecseeesneaeeneneaes 14
          a.            Sine)
                           oD iCeseh O oN thee]
                                             (01 (CARE Se                        COC      ARORA                    ASMA              EOn Ln                      eR eR Ree RME LAER 14
          b.            Donn crera hf ANGh                PER        eee          CORNER ELSE LUA                      CRE L ELM              CNAs          REET EUEOR ROE SURA RARE 15
6.        PAY Ment. oo ecessesesessesesesessesessssesssessssesesssseesssssssssnsssassnsssscensssacsnssessasensscscansseseensssacsnsesseecsnsseseesseacssessvenseeaseneteseaes 15


                                                                                           i

     2022TW-L-K-2412
             Case 23-10831-MFW                                      Doc 3-3                  Filed 06/27/23                           Page 4 of 35




       a.            Velricle INVOICE. ..cceeccccccecsscscsssscssssccscsssscssescsessesesscssescsessssscsssscsecsesscsesecsesscsesscssssesecsesacsesecsesecsecsesscsesecatees 15

       b.            Other Invoices... eeesesessssesesesscsesececscsesesscsesesscscsecussesesssucsesesscsesesusseseeneseseeusucussecusesseeusasaesusecseeeeseseaseneaeees 15
       ¢.            CET Ore Pay Oe                  ee ee een ane                 esscedebteehddant dn tlattecnsneseteettenencsce htt flit tdttlsereseettidtecnesentieettertanteae 15
       d.            (DTS DUCES                    eee     eee         ec caseeadebteehtda dn libtecssesetehttecenenee htt tell lilLssseseestidlensersentteatteanteehtlae 16
       €.             Sette oc ccceccessssssssssessesesscsessescsessssscseesesecsesucsesucsessesecsessesucsessssecsesscsecaesucsesaesucseceesucsesessesecsesneeecseenseeceeeaees 16
       f.            TARCS. Ai                   ccccossnccrsnsereneenceria littl Macecnecsssecersecnerscccersncconttehtiitaccersececersonseccesotcesseescosicbttettncesessssecessneceeates 16
       g.            JET        ELAUMAG Re SMA OECTA                                          UMM                       PR ERAN            CERES ERE RESA GE NEMA OAR               UE 16
       US Govern ment Contracting Require                              ents... eeeseesseessessescssessssesessesseseesesscsecaesusseeucarsneensaeessensateneeneateneatenees 16
       Tmport and Export. ....c.cececccesessssssssssssssessesscscseseseseseseseseseesenssesesssssssssesescseseseaesesesesseseseecsceneenessecseasacseaeaeseaeseaeaeaeenaeeees 16
       Changes and ObsolesCence........cesececsssssssesssesesesesesesesesecsssssessscsesesesesescsescsesesenesesesesseensseseseseseeseaeaeseseaeaeseseenetaeatees 16
       a.            Changes to Manufacturing Services, Packaging Specifications and Test Procedures. .......... 16
       b.            Engineering Changes ......ceccccssssesssssssssssssssessssescsesesesesesesesesesecnsesesnsesessucseseseseseseseseaeseseseceseaeeeseenenseeeneeeees 17
       c.            Treatment of Obsolete/End-of-Life Material/Part Change Notification... ceceeeeeeeeeeeeeeeeeeeees 17
10.    U Uci unr hetEeCeOeRRURMERMERAUASEAESE ECE CR ACLU CONE AM SORERMEPABRERR SER COL LOL OR ee AE ANS LMM AME OME RAERE LE LCLO LEO Te See MPO SSR SPR ERRA ERE EAL OAL En 17
11.    Termination for Cause......c.cccssscssssssscssssssessscsessessssecsssscsesacsecsssncsssnesecsesassecaesussucsesecsesscsucaesucsesaeeucseeecsecaneacaneneaeeatenees 17

       a.            Termination for Breach, wc. cccssesssssssessessscseesesscsessssessssncsessesucsssscssesssucseeaesuesecsesscsesucaeeusaesassnsaeenseneaeenses 17
       b.            Termination for Bankruptcy/Insolvency. o...cceesccsesessesssesteseceseeseseseescsecessesecesscseeesecseseceeseaeceseeseatseeneeeees 17
12.    Obligations at Termination. .......cceccsessesessssesesessesesesseseeessesesessenecsseseseesucsesesuenesecussenesucacseeecusnesesesseneseseeseeneneaseneteseaes 18
       a.            Existing Rights and Obligations. 0... eeessssssseessesesssecsesesscscseeseseceeesscseessucecsecueecseeesscaeseseeaeseeseseaeeneeeees 18
       b.            Termimation Claim. oe esessesssessessessseseseescscsseecscsecusscsesssscacevsucsesecusecsesusscaesusecaeeneueecaeensacacsecesaeeeeeeaseneesecees 18
       ¢             Company Purchase....c.ccccccssssssssssssssssssssesssesessesesesesesesenesesesesesesesesnsnenensssseseseseseaeaeseaeaeseaeceseseeneeensnsnseeeeeeees 18
       d.            Duty to Mitigate Costs. ...cecccccecsssesesssesesssesssesesesesesssessscsescsesesesencseseseseseseseseeeseeusssscsesseeseeescseueaeaeaeneaeaeaees 19
13.    Bro Pert OF toe aties ee                          eee eeeceeee             eee         sence cceseedehttececsesetttdatdabluhtlbtassseseseetttersssssettteet
                                                                                                                                                           ten ttn te 19
       a.            Property of the Supplier: ....
       b.            Property of Company...
       ¢             No License...
       d.            Return of Company Property. ...
14.    Confidentiality... cceeesessssssesessssssesecesesesecsesesscncsesseseneesssesesssussssesusnesesussenesusuesesecusneaesucuesecuesenscesueseaeseseeaeaeeesneaeeneaeeee 19
       a.            Confidentiality Obligations... ssesssseseeessessseceescseeesscsesececsesecucnesesesecaesesecacseseeseaeeesacaeeucecaeseeesneateeeeeeee 19
       b.            Employees, Agents, and Representatives. .......cccccsccessssssssssssseseseseseessscscseseseseseseseeeeeseseeeenensnsnstenseeeeeeeees 20
       ¢.            Term 2nd) Enforce nent                   ee             eee cee arene ee ener ns                          ee eee eee ee ceeee                  STE                    20
       d.            Return of Proprietary Information and Technology......cceccessssesssesessseceseseseseceseseseseseseeeeseeecseseeeseaeaees 20
15.    Intellectual Property Rights; Assignment......c.ccceccesssssesssesssessssseesesesesesesesesesesestseeceeseseenenseeteseseseaeseseaeaeaeaeaeeeaeeees 20
       a.            Company Existing Intellectual Property. oc ccecessssseseseseseeesesesesesesesesesenescseseeeseaeeeeeeeenseseeeeeseneeeeenes 20
       b.            Goodwill and Acquired Rights... ccessssssesesesesessseseseseseseseeeseseeesecsescecsessscseacacacseaeaeseaeeeseseeseeeeeseeeeeesees 20
       ¢.            Protection of Intellectual Property oe eeecesessssesssssesesesessesesesecsesessesecesseseseseseeseceseeseceeneseaeseeseneaeeenenees 20
       d.            Ievalenlesiecct\V Nk RRL S RARE                    COL            eO eee ELON eee                ERE RL ERES RARE CREE SORE ER GERD LAE EAR ALS 21
       e              Supplier Existing Intellectual Property... ccceecccesesssssseeseseceseeseseseesensseescseceesesececeenenscencaecesecaeeesseneeeenens 21
       f             Inventions and Improvements Made by Supplier... eseseesesseseeseseeseesessesesneseeseseaeeestesesseneenees 21




  2022TW-L-K-2412
             Case 23-10831-MFW                                      Doc 3-3                 Filed 06/27/23                          Page 5 of 35




16.    Tndemmmification. ..c.cccccccccccscscsscsesscsesscsssscsscsesssscsscsessssesscsecsesscsesscsesscsssecsessssesecssssesscsesscsesscsesecsecscsesacseesessssesecsessesseeees 21

       a.            Third Party Indemmification. .0.....cccceesesessssssesesssesesesesesesesesesesecesesesessscseseseseseseseseseseseaeeeseeceeseseenseeneeeneees 21
       b.            Indemmification Procedure... eesessssssssesssessesscssssescssssenssssssusscsseseuesesssnsacasssacasensacssensesscassusacasensesneanes 21
17.    Limitation Of Damages.......cccsesssssssssseeencescsesesssesesesecesesesessesesecseseseneaesesesesesesesssaeenseseeusecuceseceeeeaeaeaeaeaeaeaeaeaeenees 22
       a.            LIMITATIONS ou. eeceeceeessesessssssseeseccsesscsscsesucsecsesscsscnesucsesucsesaesucsesscscassecsecsesecsesecsesaesucneeacsueneeecsecneneeasenees 22
       b.            CAP ON AGGREGATE                           LIA BLITY. w.cccceessesscssssessessescseesscecsessesucsseassucseescaeeucseaesusasenseueaneaseneasenes 22
       c.            129,€ 0) Se)LONE           MRAEER      URAL                eRe
                                                                                  UES CRRA ESLER RMR                                                                                     23
18.    FE CO eee                     ee            see eee           caterdtabtteenerert tet det ME MEME      essedehtleseserrtegtde tet deh edt t le seereaeitdtoroenen beset fh tait dh 23

19.    Relationship Of Parties. ......c.ecccessssssesesesesesesesesesesesessssesesesescsesesesesesesesesecussesenssssesesesesesssescseseseacseseaeaeseseeneeenensneneneesees 23
20.    Agu
         lo) (ot 5 Ae
                    OO er ee                                                                                                                                 eee                         23
21.    Force Majeure                     ee ccsssccncscecseetldeptichliehincesesssscsessssesssecssneestetlbltlessessssseesescecssasesscestttleetdaldessscssssesecesecees 23
22.    GOVETMANCE. oe                      esecseest ets ssssrecesesttubtisnsersesesseaill abit esesesessnedelstesssesssereeettlielaltssceseessseet
                                                                                                                                   tetera els 24
       a.            SIO clakeak Pe Rats
                                      iid (oo AER                          OER             ERE RL ERENCES                OTERO                               ere ROAR CRESS 24
       b.            ProjeCt Mande ete                    ee            eee           eee                                ee                       ee                       ih            24
23.    Dispute Resolution/Arbitration, .......ccccccsscsssssesesssseseseseeseceseesesesnesesesucsesesussesenesuescsessesesesusseseceeeescsecueeeseceseeseseeneaeaeenes 24
       a.            Negotiation, .... ATI                        cessesetldsteesseoeestht ite             becerscnedehttesseenest OMPEM DEE sssseenshl Mesaeee edn ianennt ie 24
       b.            PATTON,                 ee eee e nen              el cosceeate bidet tlt ttl           cesessedat teoseenees teat dahtleh ttt ssrsesnetttlenssecse teh tdahteenttee 24
       ¢.            Jeg voleers
                              101 te             eee            ec                         enn    cL cL       ee        eee                  Es        ne                     Ene 24
       d.            |seDCesneests
                                cit          OREO ERLE          On         AL       ER ELSE LA                 Lee                    Ae Eek           ne        ene eO Eee LAR EAE 25
24.    UVES Cea        COS      ee      ce eeeeeeencecceeeenecr tt       ee        ee ccsseseencersenecatl abldet dbl         Li cocessaserceeasoneostt blabla iLL Gteracesceeacerses 25
       a.            NOTICES. .eeeseeesseesesscsesesscsesesscscsseucscsesusscsesucucsesucucscsesucucsesusscaesusucaesusucassesussesesusucsesusucseeusscasensosecasaueneaseneneneenes 25
       b.            CG oF ofe Ml A: DOMED ANE RRERLOALU RI OOOONELAN MOVEROORLL ORE LRULUAAL OOOO                      ONnOvOnEOLINNG RAUL S ORION EEL MOPOOONE AML BRA DAN EAL 25
       ¢             Cumulative Remedies; Specific Perfo rmance. ........cecececesssssssesssessseeesessesescsescseseseaeseseceeeseseeeseeeenseeteneaeees 26
       d.            Attorneys’ Fees and Costs
       €             Amendment...
       f.            Partial Invalidity...
       g.            IMIONICS Haein decease
       h.            Further Assurances
       i.            ScaiKei
                         105] [Uh          IMATAASRALARSR AY A SOOOONONE AOE RASERABALEACRANAT SAL OOOEALEALSARSAERATANASARLA
                                                                                                                CAMO LEA SRERATAAASAAEAERRS 26
       j.            ENTS AgTe ne                       ener                    e ee ee eee reer                  IOUT                                     EE                            26
       k.            Binding Effect; Assignment. .0.......c.cccceseseeseseseseseseseseeesessesesescscscscseseseseseseseseaeseseanensnsnsseeseeeeeseeeseaeaeaeaees 27
       l             WAIVET. .o.eseecsessessseseesesesessesescseeuesessuesssesusucsseusucacsesusscuesusucsecesuesecusucsesssucussesecuciecesecaestsusucseeceuescaeauensatensusneenes 27
       m.            No Third-Party Beneficiaries . .......eeececscscssseseseseseseseseseseseensesescscscsesesescseseseaeseseaeeesesnensesseeeeeensesseeeseseneas 27
       n.            Headings} Rules of Interpretation oe                                                                                                                                27
       0.            Section References... ecececsecesseessssssssessesssesesscscsesesscssseescsesesessesesesscasssecsesusseseseeesacassusscaesesecaesnsasasensnaes 28
       P             Busmess) Day             ey,                         LT                                                  TEE                      ee hte                            28
       q.            (O/} Kerem D ofer thet coalALOE REAL OOOO             AME LAU MERA UOR EER UE LUA      OAS REORERLEOL IMU CA ESAS                ORE ER UREA EROS OMAR ERE 28
       ra            (Ganiiahierqey-
                                  | EMME RECN EOSe                     Ueeeeekon                           ee        eC O eee a en                            ea                  La     28
       S.            Govern ing Law and Jurisdiction. wo. cceessesessssesecessecesesecsesesecsesesesseceseeseseeesececaeesneaeesseneseeaeaeceseeseaeeneneaes 28


                                                                                     ill

  2022TW-L-K-2412
          Case 23-10831-MFW                  Doc 3-3            Filed 06/27/23                  Page 6 of 35




     t.     SUTVIVa   ee ccccsssccnssscsssescscntsetlabelihesssssssesssssssssessesssesaetellbtiatccssssssssesesssssssssssescart
                                                                                                         tte dieh Mansssseassssssssanses 28




                                                           iv

2022TW-L-K-2412
                 Case 23-10831-MFW                Doc 3-3       Filed 06/27/23             Page 7 of 35




                                    MANUFACTURING           SUPPLY     AGREEMENT

          This Manufacturing Supply Agreement (“Agreement”)          is entered into by and between Foxconn EV System
LLC, a Ohio limited liability company, having offices at 4568 Mayfield Road, Suite 204, Cleveland, Ohio 44121, and
Lordstown EV Corporation, a Delaware corporation, having its offices at 2300 Hallock Young Road, Lordstown, Ohio
44481.   Supplier and Company are each referred to herein as a “Party” and, collectively, as the “Parties”.

RECITALS

          A.        Supplier is in the business ofmanufacturing products of various types.

          B.        Company is in the business of designing, developing, manufacturing, distributing, marketing, selling
                    and servicing electric light duty commercial vehicles, including the vehicle currently expected to be
                    marketed under the “Endurance” trade name.

          C.        The Parties desire that with respect to the Vehicle (as defined below), Supplier: (i) manufacture the
                    Vehicle from Components sourced by Company based on the design and development activities
                    performed or to be performed by Company; (ii) procure Components for the manufacture and
                    assembly of the Vehicle; and (iii) perform additionalresponsibilities as the Parties may subsequently
                    agree in writing.

          Dz.       The scope of this Agreement is limited to the Vehicle, however, the Parties further desire to work
                    collaboratively and in good faith toward the possible design, development, and manufacture of other
                    vehicles (including later models of the Endurance and other vehicles in addition to the Endurance),
                    as the Parties may subsequently agree.

          E.        The Parties acknowledge that, in order to successfully undertake the work which is the subject of
                    this Agreement, they will need to work togetherin good faith and in the spirit of cooperation.

          F.        The Parties desire to perform the activities    described in Recital    C pursuant to the terms   and
                    conditions set forth in this Agreement.

          NOW,      THEREFORE,      in consideration of the foregoing and the mutual    covenants contained herein, and
other good and valuable consideration, the receipt and sufficiency of which is hereby acknowledged, the Parties agree
as follows:

TERMS

1.   Definitions.
          In addition to terms defined elsewhere in this Agreement, the capitalized terms set forth below shall have the
     following meaning:

           “12 Week Quantity Build Schedule” means a manufacturing schedule provided to Supplier by Company in
writing ona 12-week rolling basis that specifies the total quantity of Vehicles to be delivered and, within agreed upon
quantity variances, the quantities of Vehicle types (e.g., by applicable options, trim levels, or other configuration
variables), as well as identification number, shipping instructions, and requested delivery date.

          “4 Week Quantity/Option Build Schedule” means a manufacturing schedule provided to Supplier by
Company in writing on a four-week rolling basis that specifies the Vehicles to be delivered, including the exact
quantities ofeach Vehicle type (e.g., by applicable options, trim levels, or other configuration variables), as well as
identification number, shipping instructions, and requested delivery date.




     2022TW-L-K-2412
                Case 23-10831-MFW                     Doc 3-3           Filed 06/27/23              Page 8 of 35




         “52 Week Rolling Forecast” means the weekly forecast provided to Supplier by Company, in writing, of
quantity requirements ofeach Vehicle that Company anticipates requiring during the next 12-month period, as updated
by Company    from time to time on the frequency agreed to by the Parties.

          “Affiliate” ofa Person means any other Person that directly or indirectly, through one ormore intermediaries ,
controls, is controlled by, or is under common control with such Person. For purposes of this definition “controls”
(and with correlative meanings, “controlled by” and “undercommon control with”) means, with respect to any Person,
the possession, directly or indirectly, of the power to direct or cause the direction of the management or policies of
another Person, whether through the ownership or voting securities, by contract, or otherwise. For clarity, (i) a
Subsidiary of a Party shall be an Affiliate of such Party; and (ii) neither Party shall be an Affiliate of the other.

        “Asset Purchase Agreement” means the agreement entitled “Asset Purchase Agreement By And Among
Foxconn EV Technology,  Inc., Lordstown EV Corporation And Lordstown Motors Corp. Dated As Of November 10,
2021.”

         “Build    Schedule”    means,     collectively,     the   12   Week   Quantity     Build    Schedule    and   the   4   Week
Quantity/Option Build Schedule.

          “Commercially Reasonable Efforts” means, with respect to any action, an affirmative duty to act in good
faith and to make substantialefforts to cause such action to be taken, provided that: (1) a Party is not required to take
any action which it reasonably believes would be contrary to its own material business interests; and (2) a Party’s
failure touse Commercially Reasonable Efforts shall constitute a material breach ofthe Agreement only if it materially
harms the other Party. “Substantial efforts” means the same level of effort that a Party would have taken on its own
behalf in the same situation.

         “Company” and “Lordstown EV Corporation” means Lordstown EV Corporation and shall be defined to
include any Company Subsidiary to which a right is assigned, or a duty delegated, to the extent permitted under this
Agreement.

         “Company      Intellectual Property” means all Intellectual Property of Company.

          “Component Lead-time” means the mutually agreed upon minimum amount of time (or, in the absence of
agreement, 12 weeks), in advance of delivery requested in a Build Schedule, that Supplier must receive in order to
obtain the Components necessary to deliver the Vehicle on the requested delivery date.

         “Component       Provider”      means    a   supplier,    including   a Directed    Provider,   which    supplies       or   is
contractually bound to supply Components.

         “Component      Purchase     Order”     means     a document    (whether   titled “Purchase Order”      or otherwise) that
identifies, at a minimum, the Component and Component Provider, and which authorizes or obligates the Component
Provider to deliver the Components.

          “Components” means all production (including prototype) parts, assemblies, materials, or related services
used in the manufacturing of the Vehicle.

         “EDI     means electronic data interchange.

          “Effective Date” means the date upon which the terms and conditions of this Agreement shall become
effective by and between the Parties. The Parties have agreed that the Effective Date of this Agreement shall be
May 11, 2022, or if no date is entered here, the last date of signature.

          “Engineering Change” means a change to the design, Specifications, engineering level, manufacturing process,
materials or Components of the Vehicle.




   2022TW-L-K-2412
                 Case 23-10831-MFW                 Doc 3-3         Filed 06/27/23           Page 9 of 35




          “Governmental Authority” means any federal, state, local, or foreign government or political subdivision
thereof, or any agency or instrumentality of such government or political subdivision, or any selfregulated
organization or other non-governmental regulatory authority or quasi-governmental authority (to the extent that the
rules, regulations, ororders ofsuch organization or authority have the force of law), or any arbitrator, court, or tribunal
of competent jurisdiction.

          “In writing” means written documents, files contained on Company secured FTP, notice of which is provided
electronically to Supplier, EDI with confirmation, and emails successfully transmitted and confirmed electronically
or otherwise as received.

          “Intellectual Property’ means the intellectual property rights, including patents, patent applications,
potentially patentable inventions, utility models, industrial models, drawings, designs, design models, trade secrets,
know-how, processes, computer programs, data collections, databases, copyrights, copyrightable works, including
software source code, copyright registrations, registerable mask works, mask work registrations, trade secrets, moral
rights, and any other intellectual property or proprietary rights, applications, certificates of invention, divisions,
continuations,   patents ofaddition, reissues, renewals, extensions, certificates    of reexamination,     foreign counterparts,
international counterparts, and any application claiming priority to or the benefit of any of the foregoing.

          “Laws” means all applicable statutes, acts, codes, laws, rules, regulations, orders, constitutions, conventions,
treaties, standards, ordinances,common   law, or other requirements of any Governmental Authority, including those
relating to the Manufacturing Services or the Manufacturing Plant.

         “Loaned Equipment” means capital equipment (including Tooling) which is loaned or bailed to Supplier
by or on behalf of Company to beused by Supplier to perform the Manufacturing Services.

           “Losses” means losses, claims, damages, liabilities, deficiencies, losses resulting from actions or judgments,
interest, settlements, awards, penalties, fines, costs, or expenses of whatever kind, including reasonable attorneys’ fees
and the cost of enforcing any right hereunder and the cost of pursuing any insurance providers.

            “Manufacturing    Plant”   means   Supplier’s   manufacturing   plant   located at 2300      Hallock   Young     Road,
Lordstown, Ohio 44481.

            “Manufacturing   Process” means, with respect to the Vehicle, the process employed to assemble the Vehicle.

         “Manufacturing      Services” include but are not limited to, each of the following:               assembling,
manufacturing, testing, configuring, and packaging of the Vehicle prior to acceptance by Company, (but excluding
Company Inspection, as defined in Section 2.e) as well as Post-Delivery Services, the provision of service parts and the
performance of warranty obligations. Except as provided in Section 2.c.1i, the Manufacturing Services include the
procurement of Components to be used in the assembly and manufacture of the Vehicle.

            “Master   BOM”   means a document which lists, ata minimum,        all Components of a Vehicle,        including part
numbers, quantities, unit price, vendor, and the currency in which the Component is being purchased (if otherthan US
Dollars).

         “Materials   Declaration   Requirements”    means any material disclosure                requirements       under     any
environmental, product composition, and/or materials declaration or similar Laws.

            “NHTSA”    means the National Highway Traffic Safety Administration.

          “NRE Costs” shall consist of non-recurring expenses incurred by Supplier under this Agreement, including
design, engineering, testing, fixturing and tooling, other out-of-pocket and internal costs, so long as such activities are
authorized by Company in writing.

            “Packaging Specifications” means the packaging specifications supplied and/or approved by Company.




   2022TW-L-K-2412
              Case 23-10831-MFW                  Doc 3-3        Filed 06/27/23           Page 10 of 35




         “Permits” means permits, licenses, franchises, approvals, authorizations, registrations, certificates, variances,
and similar rights obtained or required to be obtained, from any Governmental Authority.

          “Person” means any corporation, business entity, natural person, firm, joint venture, limited or general
partnership, limited liability entity, limited liability partnership, trust, unincorporated organization, association,
goverment, or any department or agency of any government.

         “Post-Delivery Services” include all services following the acceptance of the Vehicle          by Company to be
performed by Supplier, as specified in Section 2.1.

          “Proprietary Information and Technology” means software, firmware, hardware, technology and know-
how, and other proprietary information or Intellectual Property embodied therein that is known, owned, or licensed
by and proprietary to either Party and not generally available to the public, including plans, analyses, trade secrets,
patent rights, copyrights, trademarks, inventions, fees and pricing information, operating procedures, procedure
manuals, processes, methods, computer applications, programs and designs, and any processed or collected data
(including Intellectual Property). The failure to label any of the foregoing as “confidential” or “proprietary” shall not
mean it is not Proprietary Information and Technology.

          “Specifications” means the technical specifications (including specifications, drawings, samples,
descriptions, and quality standards) for the Vehicle and Manufacturing Services supplied and/or approved by
Company in writing and accepted by Supplier. Specifications may be amended from time to time under Section 9 by
written Engineering Change orders agreed to by the Parties.

          “Subsidiary(ies)” means any corporation, partnership, joint venture, limited liability entity, trust, association,
or other business entity ofwhich a Party orone ormore ofits Subsidiaries, owns orcontrols more than 50% of the voting
power for the election of directors, managers, partners, trustees, orsimilar parties.

          “Supplier Existing Intellectual Property’ means any discoveries, inventions, technical information,
procedures, manufacturing or other processes, software, firmware, technology, know-how, or other intellectual
property rights owned or developed by Supplier outside of this Agreement, or owned or controlled by Supplier prior
to the execution ofthis Agreement and all Transferred Intellectual Property as defined in the Asset Purchase Agreement.

         “Supplier Personnel” means the employees, independent contractors, workers,                and subcontractors of
Supplier who will perform services on behalf of Supplier.

          “Supplier” and “Foxconn EV Technology System” means Foxconn EV Technology System LLC and shall
be defined to include any Supplier Subsidiary to which a right is assigned or a duty delegated, to the extent permitted
under this Agreement.

         “Test Procedures” means the finished Vehicle testing specifications, standards, procedures and parameters
supplied and/or approved by Company and accepted by Supplier in writing.

          “Tooling” means, collectively, all tooling, dies, test and assembly fixtures, gauges, jigs, patterns, casting
patterns, cavities, molds, and documentation (including engineering specifications and test reports)as are required for
the manufacture of the Vehicle for which Company has issued a tooling authorization or purchasing document,
together with any accessions, attachments, parts, accessories, substitutions, replacements, and appurtenances thereto.

         “TREAD     Act” means the Transportation Recall Enhancement, Accountability and Documentation Act.

          “Vehicle” means the launch edition model (or “Version 1.0”) of the vehicle Company plans, as of the
Effective Date, to bring to market under the name “Endurance” as contemplated in Company’s 2022 operating plan
and scheduled to be launched in the third quarter of 2022, as the same may be modified during the term of this
Agreement, but excluding new models or editions of the Endurance.

         “Vehicle Acceptance     Standards”    means the mutually agreed and documented criteria standards regarding




   2022TW-L-K-2412
                 Case 23-10831-MFW                  Doc 3-3       Filed 06/27/23          Page 11 of 35




whether a completed Vehicle is to be accepted by Company.

          “Vehicle Payment” means for each Vehicle the sum of: (1) the cost of the Vehicle Components, calculated
per the Master BOM, and Component transportation incurred by Supplier; (ii) a Manufacturing Value Add Payment
as described in Section 6.a; and (iii) any other amounts as agreed in writing by the Parties, which amounts shall be
itemized in the Vehicle Purchase Order.

           “Vehicle Purchase Order” means a purchase order issued by Company to Supplier for the Vehicle, which
shall, at a minimum, contain: (i) the amount of the Vehicle Payment; and (ii) an internal Vehicle identification number
and Vehicle type (e.g., by applicable options, trim levels, or other configuration variables) corresponding to the
information in the 4 Week Quantity/Option Build Schedule.

2.   Manufacturing       Services.

     a.   Engagement. During the term of this Agreement, and pursuant to and in accordance with the terms and
          conditions set forth in this Agreement, Company hereby engages Supplier to provide, and Supplier hereby
          agrees to provide to Company, the Manufacturing Services. Supplier agrees to provide Manufacturing
          Services, and Company agrees to purchase Manufacturing Services for that quantity of Vehicles set forth in
          the Build Schedule. The Manufacturing Process shall include specific process and inspection plans and
          targets of achievement, including Key Performance Indicators (“KPIs”) (collectively the “Performance
          Standards”), as mutually agreed to by the Parties. Company shall be responsible for defining and managing
          all Vehicle-related Performance Standards. Supplier shall be responsible for defining and managing
          production and manufacturing-related Performance Standards.

     b.   Manufacturing Schedule; Capacity.

          i.     Company shall provide Supplier ona rolling weekly basis the 12 Week Quantity Build Schedule, which
                 shall be used for the purposes of Component acquisition. The total quantity of Vehicles set forth in any
                 12 Week Quantity Build Schedule shall be binding on Company, although the quantities of Vehicle types
                 (e.g., by applicable options or other configuration variables) within that 12 Week Quantity Build
                 Schedule may be varied by Company within a range to be determined by the Parties through good faith
                 negotiations.

          ii.    Company shallalso provide Supplier 4 Week Quantity/Option Build Schedules, which shall be used for
                 purposes of production. The quantities of Vehicles, including Vehicle types, in any 4 Week
                 Quantity/Option Build   Schedule   shall be binding in all respects on Company,    and Company     shall be
                 obligated to purchase and pay for all Vehicles satisfying the Vehicle Acceptance Standards delivered to
                 Company by Supplier consistent with the 4 Week Quantity/Option Build Schedule, as well as any
                 additional quantities of Vehicles produced in accordance with Section 2.b.iv.

          iii.   Supplier shall determine a production schedule for the Vehicle based on the 52 Week Rolling Forecast,
                 the 12 Week Quantity Build Schedule, and the 4 Week Quantity/Option Build Schedule. In the event
                 Supplier determines that it cannot deliver to Company in accordance with the 4 Week Quantity/Option
                 Build Schedule, Supplier shall notify Company as promptly as feasible, and not less than 21 days in
                 advance of any anticipated shortfall in production, in which case the Parties shall work in good faith to
                 mutually determine a revised final production schedule. Supplier shall use best efforts to deliver Vehicles
                 in accordance with the 4 Week Quantity/Option Build Schedule. If Supplier fails to timely notify
                 Company that Supplier cannot deliver Vehicles in accordance with the 4 Week Quantity/Option Build
                 Schedule, the 4 Week Quantity/Option Build Schedule shall be deemed accepted.

          iv.    Notwithstanding anything to the contrary in this Agreement, Company may, subject to (1) the availability
                 of Components and other inputs; and (2) the available capacity of the Manufacturing Plant, increase
                 weekly volumes for weeks 5-12 of the 12 Week Quantity Build Schedule by up to 20% from the volume
                 stated when the calendar week first entered the 12 Week Quantity Build Schedule . Supplier shall use
                 Commercially Reasonable Efforts to satisfy any other requested volume increases from Company.




     2022TW-L-K-2412
            Case 23-10831-MFW                   Doc 3-3        Filed 06/27/23        Page 12 of 35




            Supplier shall reserve, ona priority basis, for Company sufficient capacity at the Manufacturing Plant to
            meet Company’s 52 Week Rolling Forecast. However, subject to Company’s consent, not to be
            unreasonably withheld, Supplier may reduce or reconfigure capacity if there is a material shortfall in
            Company’s actual requirements from the 52 Week Rolling Forecast.

c.   Procurement of Components.

     i.     Generally. Except as provided in Section 2.c.1i, Supplier shall manufacture or purchase from Component
            Providers specified by Company (each a “Directed Provider’) all Components. Any Components to be
            purchased by Supplier from Directed Providers shall be purchased through purchase orders issued by
            Supplier on its own account, paid for and owned by Supplier pursuant to the terms and conditions
            (including price) agreed to by the Directed Provider and Company (“Directed Provider Terms”). Neither
            Party may make any amendments to the Directed Provider Terms as they exist as of the Effective Date
            that materially affect the other Party without the other Party’s consent. Notwithstanding the foregoing,
            in the event any Directed Provider refuses to accept a purchase order or othercomparable document for
            the purchase of Components from Supplier on the Directed Provider Terms, Supplier shall issue such
            documents on behalfof Company and shall in all otherrespects be subject to this Section 2.c. Company
            shall compensate Supplier for all amounts paid by Supplier to Component Providers in accordance with
            the provisions of Section 6.a. If the Parties agree in writing that any Components should be paid for and
            owned by Company, the Parties shall negotiate in good faith to determine the value and any reduction
            in the Vehicle Payment for any Component inventory owned by Company. The Parties shall negotiate
            in good faith to determine the value and any reduction in the Vehicle Payment for any Component
            inventory owned by Company as of the start of the Manufacturing Services.

     ii.    Company Purchases. Company shall directly purchase from Component Providers for its own account
            in the following circumstances:

            (1).   All Components to be purchased during the Transition Period;

            (2).   All Components which are subject to a non-assignable contract between Company and the
                   Component Provider, provided that the Parties will use Commercially Reasonable Efforts to obtain
                   any necessary consents to assignment; and

            (3).   As agreed in writing between the Parties.

     If Company directly purchases a Component on its own behalf, Supplier’s possession thereofshallbe deemed
     a bailment. Supplier shall bearthe risk of loss ofand damage tosuch Component until such time as the Vehicle
     is accepted by Company. Supplier shall use any such Components solely to produce Vehicles hereunder.
     Sections 2.c.iv through 2.c.vii shall not apply to such Components. Instead, the Parties will negotiate alternate
     procedures to minimize disruptions and inefficiencies when Company is the direct purchaser.

     ili.   Transition Period. The Parties shall use Commercially Reasonable Efforts to transition the purchase of
            all Components (except those identified in Section 2.c.ii(2) and 2.c.1i(3)) to Supplier as expeditiously as
            possible and on a rolling basis as circumstances deem appropriate, or as otherwise agreed to by the
            Parties. Supplier shall use Commercially Reasonable Efforts to complete such transition no later than
            October 15, 2022. The period from the Effective Date until such time as the purchase of any Component
            is, or all applicable Components are, as context requires, transitioned to Supplier shall be the “Transition
            Period.” During the Transition Period, Supplier shall use Commercially              Reasonable Efforts to
            (1) support Company’s purchasing efforts in relation to the Components so as to minimize disruptions
            and inefficiencies; (2) assist Company in managing and communicating with Component Providers
            (including the resolution of any dispute as to price changes, maintaining the continuity of supply, and
            addressing other material changes to the terms of supply); and (3) assist Company in improving the
            commercial terms of procurement with Component Providers. Supplier shall timely provide any
            information reasonably requested by Company to permit Company to effectively purchase any
            Component on its own account. Company acknowledges that prior to becoming an approved provider in
            Supplier’s vendor management system (i.c., such provider is designated as an approved Supplier



2022TW-L-K-2412
          Case 23-10831-MFW                  Doc 3-3         Filed 06/27/23           Page 13 of 35




          provider subject to Supplier’s generally applicable terms and conditions and Supplier and any of its
          Affiliates may purchase from such provider), any Directed Provider would be required to satisfy
          Supplier’s generally applicable supplier requirements; provided that the failure of any Directed Provider
          to satisfy such requirements shall in no way impact Supplier’s ability or obligation to purchase from
          such Directed Provider in accordance with this Section 2.c. The Parties shall agree in advance on the
          applicable terms and conditions prior to any Components being purchased by Supplier from such an
          approved Directed Provider on terms other than the Directed Provider Terms.

    iv.   Alignment of Directed Provider Rights and Obligations. The Parties shall use Commercially Reasonable
          Efforts to contractually align the rights and obligations of the Directed Provider, Supplier, and Company
          to those set forth in this Agreement, such that, by way of example, Supplier’s sole contractual
          responsibility to Directed Provider is to pay the contract price for Components as set forth in
          Section 2.c.xii, and that Directed Provider and Company are otherwise directly contractually
          accountable to each other with respect to their respective rights and obligations under the Directed
          Provider Terms. These Commercially Reasonable Efforts may include Company designating Supplier
          as a “Designated Purchaser” as defined in the Directed Provider Terms, the Parties seeking to enter into
          three party contracts with specified Directed Providers identified on Schedule 2.c.iv, or as otherwise
          agreed to by the Parties in writing.

    v.    Pricing. Supplier shall purchase and pay Directed Provider for Components in accordance with the
          Directed Provider Terms. If any Directed Provider demands or imposes a price higher than that provided
          in the Directed Provider Terms, or imposes or threatens a supply cutoff unless that higher price is paid
          (or demands or imposes any other term of sale more favorable than that provided for in the Directed
          Provider Terms), Supplier shall promptly notify Company. Supplier shall use Commercially Reasonable
          Efforts to assist Company in resolving the dispute with the Directed Provider and maintaining continuity
          of supply, but Company shall be responsible for the resolution, or the consequences of failing to resolve,
          the dispute.

    vi.   Sourcing Communications. The Parties shall negotiate in good faith a process for best communicating
          and managing any actual or proposed Directed Provider pricing and Component sourcing changes in
          accordance with Section 9. Each Party shall promptly notify the other if it learns that any Directed
          Provider has made or proposes to make a price change or other material contract change for a Component.
          Any purchase by Supplier of Components subject to such revised Directed Provider Terms, including
          those subject to Section 2.c.v, must be authorized in advance by Company. The Parties shall negotiate
          in good faith to determine a process to ensure availability of supply of such Component while Company
          negotiates pricing with the Directed Provider.

    vii. CostReductions. Supplier agrees to use Commercially Reasonable Efforts to assist Company to improve
         the commercial terms of procurement with Directed Providers and otherwise take advantage ofsourcing
         synergy opportunities, including those Directed Providers listed on Schedule 2.c.1v, which shall be
         specifically targeted by the Parties. Further, the Parties shall togetherin good faith attempt to reduce
         Master BOM costs, which may include Supplier directly participating in Company’s value analysis and
         value engineering (“VAVE’) and sourcing activities. During the term of the Agreement, Company shall
          retain any contract price reduction realized as a result of theParties’ efforts, less any time ormaterial costs
          incurred by Supplier. The Parties also anticipate that for vehicles other than the Endurance Launch
          Edition, the Parties will negotiate a savings sharing agreement.

    vill. Ordering. The Parties agree to negotiate in good faith an order/release approval process for Supplier’s
          purchase of Components to ensure that appropriate quantities of Components are ordered for the
          anticipated production timeline. Supplier shall order Components consistent with the 12 Week Quantity
          Build Schedule and 4 Week Quantity/Option Build Schedule or as otherwise appropriate to reflect
          Component Lead-times. The Parties will work together to determine the appropriate level of inventory
          of Components, which shall be based on anticipated Component Lead-times, minimum order quantities,
          production variability, and other relevant factors. Each Party shall use best efforts to avoid the build-up
          of excess inventory of Components. In addition, the Parties shall negotiate in good faith a process for
          communication between the Parties as it relates to any Component for which an Engineering Change is



2022TW-L-K-2412
           Case 23-10831-MFW                 Doc 3-3        Filed 06/27/23          Page 14 of 35




           being considered by Company. Company shall provide Supplier reasonable notice that a Component is
           in Company’s Engineering Change process (but has not yet been approved). Any such Engineering
           Change shall be in accordance with Section 9.

     ix.   Scheduling. Supplier shall be responsible for managing all inbound logistics activities associated with
           Components, which costs shall be charged without mark-up to Company. Supplier shall use
           Commercially Reasonable Efforts to schedule the delivery of Components so as to maintain the
           production schedule and mitigate any scheduling impacts. Supplier shall use Commercially Reasonable
           Efforts to minimize the inbound transportation and logistics costs for Components. In the event of any
           material delivery delays, a root cause analysis shall be conducted to determine the Party responsible for
           such delay, which Party shall ultimately bear the cost of Supplier’s efforts to maintain the production
           schedule. Supplier shall be responsible for direct communication with Component Providers on all
           delivery issues. Company shall support such discussions as reasonably requested by Supplier. The
           Parties shall negotiate in good faith to develop a process by which potential expedited shipping
           arrangements are to be employed in a commercially reasonable manner, as well as an approval process
           for delivery continuity and fiscal management, which process shall include a mechanism for accelerated
           approvals in the event of a significant impact on production.

     x.    Inspection ofComponents. Supplier shall inspect Components for material defects and non- conformities
           in accordance with a mutually agreed written control plan. Supplier shall notify Company if it identifies
           potential beneficial modifications of the inspection procedures within the control plan, which
           modifications will be subject to the Engineering Change process in Section 9. The Parties shall mutually
           agree upon reporting criteria for Component defects and non-conformities identified by Supplier.

     xi.   Liability of Company. Except as provided in Section 2.c.xii, as between Company and Supplier,
           Company shall bear sole responsibility for Directed Components, including their design, quality,
           conformity, and fitness for purpose, as wellas the Directed Provider’s performance of its contractual, tort
           law, and other legal obligations, including Directed Provider’s compliance with quality and
           manufacturing processes as established by Company. Further, except as set forth in 2.c.xii, Company
           shall be directly responsible to the Directed Provider for performance ofall obligations to the Directed
           Provider under the Directed Provider Terms. Company shall be solely responsible for the enforcement
           of claims against and the defense of claims brought by the Directed Provider that are subject to this
           Section 2.c.x1. Except as set forth in Section 2.c.xii, Company shall hold Supplier harmless for any claim
           or cost Supplier incurs arising out of the performance of such Component or of the Directed Provider,
           or Company’s failure to fulfill contractual responsibilities to the Directed Provider.

     xii. Liability of Supplier. Supplier’s sole responsibility with respect to Components are to perform those
          duties specifically undertaken in this Section 2.c. Supplier shall be responsible for the payment of the
          contract purchase price solely for Components needed to satisfy Company’s production requirements as
          set forth in the Build Schedules, and not for any minimum purchase quantities or other purchase
          obligations to Direct Provider beyond actual production requirements. Supplier shall hold Company
          harmless for any claim or cost Company incurs arising out of Supplier’s failure to pay any Directed
          Provider or otherwise perform its obligations with respect to Components under this Section 2.c.
          Supplier shall be solely responsible for the enforcement of claims against and the defense of claims
          brought by the Directed Provider subject to this Section 2.c.xi.

d.   Testing. Supplier will test the Vehicle in accordance with the Test Procedures. Company shall be solely
     responsible for the sufficiency and adequacy of the Test Procedures and shall defend, indemnify, and hold
     Supplier harmless for any claim or costs arising therefrom, except to the extent such claim orcosts result from
     Supplier’s negligence or failure to perform the Test Procedures. In addition, Company shall reimburse and
     hold Supplier harmless for any costs Supplier reasonably incurs as a result of a Vehicle’s failure to satisfy the
     Test Procedures, unless and only to the extent that any cost results directly from Supplier’s breach of its
     obligations with respect to the Manufacturing Services.

e.   Completion of Manufacture: Inspection. If at any point during the production of any Vehicle, Supplier
     discovers any defects or discrepancies in the Vehicle that may impact Supplier’s ability to deliver the Vehicle



2022TW-L-K-2412
          Case 23-10831-MFW                 Doc 3-3        Filed 06/27/23           Page 15 of 35




     in accordance with the 4 Week Quantity/Option Build Schedule, it shall give immediate notice (not to exceed
     24 hours)to Company. The Parties shall agree upon Vehicle Acceptance Standards. After the completion of
     the manufacture of Vehicles, Supplier shall inspect the Vehicle to confirm compliancewith those standards
     (“Supplier Inspection”), and, if compliance is confirmed, it shall move the Vehicle toa location as mutually
     agreed upon in writing by the Parties, at which time Company (or its designee) may, but is not obligated to,
     conduct its own inspection (“Company Inspection”).          The Vehicles will be deemed accepted unless
     Company notifies Supplier in writing within one business day of when the Vehicle is made available for
     inspection that the Vehicle Acceptance Standards have not been satisfied, identifying the basis for non-
     acceptance (“Non-Acceptance Notice’). If the Parties disagree in good faith as to whether the Vehicle
     Acceptance Standards have been met, it shall be resolved in accordance with Section 23. Upon acceptance,
     Supplier shall have eared the Vehicle Payment for such Vehicle. At this point, control, title, and possession
     ofthe Vehicle shall pass from Supplier to Company, subject to Section 2.1.

f.   Non-Satisfaction of Acceptance Standards. If Supplier discovers any defect or discrepancy or otherwise
     determines during the Supplier Inspection that the Vehicle Acceptance Standards have not been satisfied,
     Supplier shall promptly repair or correct any defects or discrepancies in Vehicles before designating the
     Vehicle as compliant. If Company identifies such defects or discrepancies during Company Inspectionor at
     any time prior to the sale to the retail purchasers, Company shall have the right to repair or correct the defects
     or discrepancies; or to return the Vehicle to Supplier to do so. Company and Supplier shall determine the
     responsible Party who shall bear the cost that is related to the repair or correction of the defects and
     discrepancies on acase by case basis pursuant to theallocation ofresponsibility between the Parties contained
     in Section 4.d.

g.   Packaging and Shipping. Company will have sole responsibility to ship the Vehicle. Supplier will package
     the Vehicle in accordance with Packaging Specifications. Company shall be solely responsible for the
     sufficiency and adequacy of the Packaging Specifications and shall defend, indemnify, and hold Supplier
     harmless for any claim or cost arising therefrom, except to the extent such claim or costs result from Supplier’s
     negligence or failure to comply with the Packaging Specifications. Supplier shall cooperate with Company,
     at Company’s request and cost, in connection with the shipping of Vehicles.

h.   Other Items to be Supplied by Company. Company shall supply to Supplier, according to the terms and
     conditions specified herein, Company Proprietary Information and Technology and, if applicable, the Loaned
     Equipment necessary for Supplier to perform the Manufacturing Services. Company will also provide to
     Supplier all Specifications, Test Procedures, Packaging Specifications, Vehicle design drawings, approved
     vendor listings, bill of materials, Component descriptions (including approved substitutions), and
     Manufacturing Process requirements of Company, if any, necessary for Supplier to perform the
     Manufacturing Services. Company shall be solely responsible for delay in delivery, defects and enforcement
     of warranties related to the Loaned Equipment and shall hold Supplier harmless for any claim or cost arising
     therefrom.

i.   Equipment. Supplier shall maintain and repair all machinery, equipment, tooling, computers,   and information
     technology equipment necessary forthe manufacture of the Vehicles (“Plant Machinery”) used by Supplier
     in the manufacture of the Vehicles, including any Tooling and Loaned Equipment located in the
     Manufacturing Plant. The list of Plant Machinery as of the Effective Date is set forth on Schedule 2.1, which
     shall be periodically updated by Company from time to time with any material changes. Supplier shall
     purchase, own, and maintain such inventories ofreplacement parts and materials for Plant Machinery used for
     the production of Vehicles (“Maintenance Items”) according to the machinery specifications and in
     reasonable quantities in relation to the production schedule. The maintenance and repair costs, including the
     on-going replenishment of the inventory of Maintenance Items, shall be paid by Supplier with respect to
     Supplier-owned Plant Machinery and by Company with respect to Company-owned Plant Machinery, except
     as provided in the following sentence. Company, in its sole discretion, shall determine whether the Plant
     Machinery owned by Company should undergo a major refurbishment or replacement or be removed from
     service, the cost of which shall be paid by Company, provided that Supplier shall (1) promptly notify
     Company of any non-conformities or inefficiencies directly resulting from Company’s decision not to
     refurbish or replace Plant Machinery;and (2) not be responsible for any incremental expenses arising from
     non-conformities or inefficiencies to the extent due to Company’s decision to not refurbish or replace.




2022TW-L-K-2412
               Case 23-10831-MFW                  Doc 3-3         Filed 06/27/23         Page 16 of 35




          Company-owned Plant Machinery shall be used by Supplier exclusively for the manufacture of Vehicles,
          unless otherwise agreed to by Company. Company shall be responsible for the disposal of any obsolete
          Tooling.   To the extent that the enforcement of any lien, claim, encumbrance, interest, or otherright of a third
          party in any Plant Machinery (“Plant Machinery Lien’) materially prevents Supplier from performing its
          obligations under this Section 2, Supplier shall be released from its obligation to perform under this Section 2
          solely to the extent of the impact of such enforcement. Supplier shall not be obligated to pay any amounts to
          release any Plant Machinery Lien on behalf of Company. Supplier shall reasonably comply with any request
          by Company for a waiver or estoppel letter as it relates to any Plant Machinery Lien.

     j.   Company     Inspection. Company     shall have the right at any time during normal business hours and at its
          expense to inspect, review, monitor, and oversee the Manufacturing Services, provided that such inspection
          shall not unreasonably disrupt Supplier’s normal business operations. Supplier shall have the right to take all
          necessary steps and impose all necessary restrictions on inspection to protect all Proprietary Information and
          Technology of Supplier and the confidential or proprietary information and technology of Supplier’s other
          customers. If the Parties are unable to agree necessary conditions and restrictions on such inspection, the
          dispute shall be resolved in accordance with Section 23. Before conducting such an inspection, Company
          shall cause each of its employees, agents, and representatives who have access to Supplier’s facilities, to
          agree in writing to maintain, preserve, and protect all Proprietary Information and Technology of Supplier
          and the confidential or proprietary information and technology of Supplier’s other customers.

     k.   Launch Responsibilities. Supplier shall use its Commercially Reasonable Efforts to support Company with
          respectto the timing of the launchof the Vehicle, including bringing tothe attention of the Steering Committee
          any issues that may impact the proposed launch date.

     1.   Post-Delivery Services. Supplier shall provide Post-Delivery Services, which consist of storage, preparation
          for shipment, yard management, facilitation of Vehicle loading onto carriers for delivery, and delivery to the
          designated carrier of the Vehicles, in accordance with the commercially reasonable Post-Delivery Services
          specifications provided by Company. Upon Company’s acceptance of a Vehicle, Supplier’s possession
          thereof, and during the performance of the Post-Delivery Services, shall be deemed abailment. Supplier shall
          bear the risk of loss of and damage tosuch Vehicle until such time as the Vehicle is delivered to the carrier
          arranged by Company; provided, however, that in the event the Vehicle is not transported from the
          Manufacturing Plant within 10 days after Company’s acceptance thereof, the bailment shall end, and the risk
          of loss ofand damage to such Vehicle shall transfer to Company as of such date.

     m.   Post-Sale Responsibilities. Supplier shall have no responsibility or liability with respect to service of the
          Vehicles after Company’s acceptance thereof, except for the provision of Post-Delivery Services, service
          parts, warranty services in accordance with Section 4, and recall obligations under Section 5, unless such
          service is caused by a breach of this Agreement. Company shall hold Supplier harmless for any claim or cost
          Supplier incurs arising out of the provision of post-sale service, unless such service is caused by a breach of
          this Agreement by Supplier or a result of the Manufacturing Services. Supplier shall not sell or deliver the
          Vehicle to any Person otherthan Company or as Company may direct in writing.

     n.   Service Parts. Company shall provide Supplier with a list of serviceable items on the Vehicle (“Service
          Parts”), forecasted demand for Service Parts, and Component Lead-time requirements for Service Parts
          inventory. Supplier shall maintain stock of Service Parts according to the forecasted demand provided by
          Company and Component Lead-times. Supplier’s Service Part obligations shall not survive termination of
          the Agreement, provided that prior to the effective date of termination, Supplier will use Commercially
          Reasonable Efforts to offer to Company an opportunity to purchase Service Parts for Company’s anticipated
          future needs on a “one-time buy” basis.

     o.   Future Vehicles. The Parties contemplate that Supplier will manufacture future models of the Vehicle and
          othervehicle models of Company. The manufacture and supply of any such future vehicles shall be pursuant
          to a separate agreement to be negotiated in good faith by the Parties.

3.   Certain Covenants.




                                                             10
     2022TW-L-K-2412
            Case 23-10831-MFW                 Doc 3-3          Filed 06/27/23        Page 17 of 35




a.   Compliance with Law. Each Party shall at all times comply with all Laws applicable to this Agreementand
     in the manufacture of the Vehicle, the operation of the Party’s business, and the exercise of its rightsand
     performance of its obligations hereunder.

     i.     Supplier shall cooperate with Company’s requests for information to facilitate Company’s        compliance
            with and fulfillment ofall Governmental Authority reporting obligations.

     ii.    Inthe caseof Supplier, this includes Laws regarding the operation of the Manufacturing Plant, and Laws
            applicable with respect to Supplier Personnel, including Laws relating to equal opportunity, safety,
            wages and hours, sexual harassment, and immigration. If required by Company to comply with its
            obligations under Law, upon Company’s reasonable request, Supplier shall provide Company with a
            written certification of Supplier’s compliance with Laws and any additional information regarding the
            Vehicle requested by Company. Supplier shall be solely liable for any violation of these Laws, except
            to the extent caused by Company’s breach of its obligations under this Agreement, in which case liability
            shall be equitably allocated.

     ili.   In the case of Company, this includes compliance with all vehicle safety Laws, including those arising
            under NHTSA, the TREAD Act and Federal Motor Vehicle Safety Standards, all Laws relating to the
            marketing or distribution of the Vehicles, including dealership Laws, and consumer protection, unfair
            trade practice and similar Laws. Company shall     be solely liable for any violation of these Laws, except
            to the extent caused by Supplier’s breach of its obligations underthis Agreement, in which case liability
            shall be equitably allocated.

b.   Reporting Obligations. The Parties acknowledge the existence of certain vehicle safety information reporting
     obligations pursuant to applicable     Law   (including the TREAD    Act and the Federal Motor Vehicle      Safety
     Standard), including those described in this Section 3.b. For purposes ofthis Agreement,the Parties agree that:

     i.     Company will be responsible for making any required reports to NHTSA, including information about
            fatalities orinjuries, on behalf of Company and Supplier. Supplier will immediately forward to Company,
            or its designee, a complete copy of any claim or notice received by Suppler regardinga Vehicle
            manufactured by Supplier which involves (1) one or more deaths regardless of whether the death
            occurred in the United States or a foreign country and despite whether or not the notice alleges that a
            defect in the Vehicle caused the death; (2) one or more injuries that occurred in the United States whether
            or not the notice alleges that a defect in the Vehicle caused the injury or injuries; or (3) a complaint or
            property damage claim. For purposes of this Section 3.b.i, “immediately” shall mean within three (3)
            business days following the day of receipt of such noticeor claim. Company will provide Supplier with
            contact information to receive such claims and notices and agrees to keep the contact information current.

     ii.    Supplier shall cause to be affixed permanently to each Vehicle manufactured by Supplier for Company
            a label or placard identified ona parts list, part drawing, assembly drawing or other technical information
            provided by Company. In thecaseofany label orplacard which must containvehicle specific information,
            Company will provide the technical information necessary to determine the vehicle-specific content and
            Supplier shall be responsible for ensuring that the label or placard is matched to the correct vehicle.
            Company shall be responsible for the content of the label or placard.

     iii.   Vehicles manufactured by Supplier for Company have been designed and developed solely by Company
            and therefore are attributed to Company fleet for purposes ofcompliance with any FederalMotor Vehicle
            Safety Standard including any phase-in of such Standards. In the event that Company, or its designee,
            determines that the attribution of the Vehicles manufactured by Supplier  for Company must be reported
            to NHTSA pursuantto 49 C.F.R. Part 585 in connection with the phase-in of any Standards, Company
            and Supplier agree to memorialize this attribution agreement in a separate, stand-alone written contract
            that can be filed with NHTSA.

     iv.    The Parties will make reasonable efforts to amend this Agreement to accommodate any changes made
            by NHTSA or other Governmental Authority in the future, if such changes affect the Vehicles.




                                                          11
2022TW-L-K-2412
                    Case 23-10831-MFW                   Doc 3-3        Filed 06/27/23     Page 18 of 35




             v.     Supplier’s obligations under this Section 3.b are subject to Supplier’s     reporting   and   compliance
                    obligations to Governmental Authorities under applicable Law.

     c.      Materials Declaration.        Company understands and agrees that:

             i.     Company is responsible for notifying Supplier in writing of the specific Materials Declaration
                    Requirements that Company determines to be applicable to the Vehicle and shall be solely liable forthe
                    adequacy and sufficiency of such determination and information;

                    (1).   Any information regarding Materials Declaration Requirements compliance of parts, Components,
                           packaging or materials used in the Vehicle shall come from the relevant Component Provider.
                           Supplier does not test, certify or otherwise warrant component, part, packaging or materials
                           compliance, on a homogenous material level or any other level, with Materials Declaration
                           Requirements;   and

                    (2).    Company is ultimately and solely responsible for ensuring that any Components and the Vehicle
                           itself, are compliant with applicable Materials Declaration Requirements.

     d.      Permits. Supplier shall, at its sole cost and expense, obtain and maintain in full force and effect any andall
             Permits, including all environmental Permits, necessary for the exercise of its rights and performance of
             Supplier’s obligations under this Agreement, including any Permits required for the operation of the
             Manufacturing Plant, Permits required under Section 8, the shipment of hazardous materials, and the
             manufacture of the Vehicles, as applicable.

     e.      Incentives. The Parties shall cooperate with one another and apply for and maximize the utilization of such
             state and local economic and tax incentives which may be provided by the State of Ohio, the City of
             Lordstown or other third parties, as a result of the activities engaged in by the Parties in connection with or
             during the performance of this Agreement or the manufacture of Vehicles (collectively, the “Incentives” and
             individually an “Incentive”). If Supplier receives, or receives the benefit of, any Incentives resulting from
             the activities which are the subject of this Agreement, Supplier shall provide notice of same to Company,
             and the Parties shall discuss and negotiate in good faith the sharing of the Incentive.

     f.      On-Site Component Providers. In the event Company identifies any Component Provider that Company
             desires to have manufacture a Component at the Manufacturing Plant, Supplier agrees to consider such
             requestin good faith and negotiate in good faith with such Component Provider the terms of a reasonable
             agreement with such Component Provider for the Component Provider’s use of space at the Manufacturing
             Plant.

4.        uality;    Warranty     and Reme

     a.      Quality Assurance. The responsibilities for quality assurance shall be allocated between Supplier and
             Company as provided in the Roles, Accountability, and Responsibility Matrix (“Matrix”), the initial version
             of which is attached as Schedule 4.a. The Parties acknowledge that it is expected that the actual roles and
             responsibilities are likely to change during the pre-launch planning and production periods, and agree to
             modify the Matrix as needed to reflect those changes. Supplier shall be responsible for administrative tasks
             associated with any Component Provider quality issues, including routine communications with Components
             Providers regarding quality matters. The Parties shall agree on an escalation process to be used if routine
             communications with the Component Provider do not resolve the quality issues. Company shall support such
             escalation as reasonably requested by Supplier. Supplier shall be responsible for all quality assurance
             associated with the Manufacturing Plant, the Plant Machinery (subject to Company’s calibrations), and the
             Manufacturing Services, all subject to the Matrix.

     b.      Supplier Warranty. Supplier warrants that, except to the extent that a breach of Supplier’s warranty was
             caused by Company’s breach of its obligations under this Agreement:




                                                                  12
     2022TW-L-K-2412
            Case 23-10831-MFW                  Doc 3-3         Filed 06/27/23         Page 19 of 35




     i.     Supplier shall manufacture and assemble the Vehicles in accordance with the Specifications           and the
            Vehicle type identified on the 4 Week Quantity/Option Build Schedule.

     ii.    The Vehicles shall be merchantable and free of defects in materials and workmanship arising out of the
            performance of the Manufacturing Services, and not from the causes covered by Company’s warranties
            under Sections 4.c.i or 4.¢.i1.

     iii.   Supplier shall comply with all Laws in the performance of its obligations hereunder.

     iv.    The Manufacturing Services will be provided by appropriately qualified and trained personnel, in a
            professional manner with the level of professional care customarily observed by appropriately skilled
            personnelrendering similar services as provided hereunder.

     v.     Subject to Section 6.d, the Vehicles   shall be free and clear of all liens, claims, encumbrances, interests,
            or other rights and delivered by Supplier to Company with good title on Company’s        acceptance thereof.

c.   Company Warranty. Company warrants that, except to the extent thata breach of Company’s warranty was
     caused by Supplier’s breach of its obligations under this Agreement:

     i.     The Components purchased from Directed Suppliers will conform to the specifications (as established
            by Company), be merchantable, be fit for their intended purpose, and be free of defects in design or
            quality.

     ii.    The Vehicle will be free of defects in design, quality, conformity, and fitness for purpose.

     iii.   Company shall comply with all Laws in the performance of its obligations hereunder.

d.   Warranty Liability. To the extent that a Party breaches its warranties under this Section 4 and such breach
     could have been prevented or mitigated by the other Party’s performance of its obligations under this
     Agreement, there will be an equitable adjustment to any liability (except as provided in Section 4.f) arising
     from the Party’s breach of such warranty and the Parties agree to negotiate such adjustment in good faith.

e.   Vehicle Warranty. Company or its Affiliate will warrant to its retail purchasers of Vehicles in accordance
     with its usual and customary warranty policies. To the extent Supplier is determined to be responsible for
     such warranty claims in accordance with Section 4.f below, Company shall invoice Supplier and Supplier
     shall pay for such warranty claims. The cost of a warranty claim will be determined in accordance with
     Company’s then-current Supplier Quality Assurance Manual or, if not addressedin such manual, usual and
     customary industry warranty policies. Company, or its designee, shall have the right to handle any claim,
     action, or proceeding allegedly based on such warranty. In connection with any alleged defect in Vehicles
     and the parts thereof, including “off-warranty” costs and “vehicle buy-backs,” Company may make such
     repair or replacement of Vehicles and the parts thereof, or pay such compensation directly or indirectly to the
     retail purchasers who purchased such Vehicles if it is not covered by the aforementioned warranty, recall
     campaign, or otherservice campaign pursuant to Section 5. Any costs and expenses incurred in making such
     repair, replacement, or compensation shall be either (i) borne by the respective Party in accordance with the
     principles of responsibility allocation under Section 4.f; or (ii) as agreed upon by the Parties.

f.   Allocation of Warranty Claim Responsibility. Any costs, expenses, and liabilities relating to warranty claims
     as mentioned in Section 4.e shall be bome by the responsible Party or Parties in accordance with and subject
     to the following principles of responsibility allocation:

     i.     Company    shall be responsible for the defects or consequences attributable to: (1) the development or
            design of Vehicles   andthe Components; (2) the transportation, delivery, or distribution of Vehicles;    (3)
            defective Components purchased from Directed Providers, subject to Supplier’s         obligations under this
            Agreement; or (4) any other breach of its obligations underthis Agreement.




                                                          13
2022TW-L-K-2412
                 Case 23-10831-MFW                  Doc 3-3         Filed 06/27/23         Page 20 of 35




          ii.    Supplier shall be responsible for defects or consequences attributable to the Manufacturing Services,
                 including any Component manufactured by Supplier, or any other breach of its obligations under this
                 Agreement.

     g.   Repair or Replacement of Defective Vehicle. On Company’s request, Supplier shall repair, exchange, or
          replace any defective Component or Manufacturing Service. Company shall use Commercially Reasonable
          Efforts to notify Supplier promptly after its discovery of a defect. The Parties shall mutually determine
          whether repair, exchange, or replacement is the appropriate remedy. Liability for the costs of repair, exchange,
          orreplacement shallbe determined in accordance with the principles of Section 4.d.

     h.   Exclusive Warranty. THE WARRANTIES GIVEN BY THE WARRANTOR (COMPANY OR SUPPLIER,
          AS THE CASE MAY BE) IN THIS SECTION               4 ARE THE WARRANTOR’S          EXCLUSIVE
          WARRANTIES,        AND  THE   WARRANTOR       EXPRESSLY    DISCLAIMS,    AND    WARRANTEE
          EXPRESSLY WAITVES, ALL OTHER WARRANTIES AND REPRESENTATIONS                   OF ANY KIND
          WHATSOEVER        WHETHER    EXPRESS,   IMPLIED,   STATUTORY,    ARISING    BY COURSE    OF
          DEALING     OR PERFORMANCE,       CUSTOM, USAGE      IN THE TRADE OR OTHERWISE,        ANY
          IMPLIED WARRANTY OF MERCHANTABILITY, OR FITNESS FOR A PARTICULAR PURPOSE OR
          INFRINGEMENT OR MISAPPROPRIATION OF ANY RIGHT, TITLE, OR INTEREST. NO ORAL OR
          WRITTEN      STATEMENT     OR REPRESENTATION       BY EITHER     PARTY,   ITS AGENTS,    OR
          EMPLOYEES      SHALL CONSTITUTE OR CREATE A WARRANTY OR EXPAND THE SCOPE OF
          ANY WARRANTY HEREUNDER.

5.   Recall and Other Service Campaigns.

     a.   Supplier Obligations. In the event that any request, allegation, or inquiry from, or any initial or final
          determination by, any Governmental Authority concerning suspected, alleged, or so-determined safety or
          emissions defects, or noncompliance with any governmental safety or emissions control standard or
          regulation relating to any of the Vehicles or the parts or Components thereof, is made or notice thereof is
          given directly or indirectly to either of the Parties hereto:

          i.     If Supplier receives such request, allegation, inquiry, or determination, Supplier shall immediately notify
                 Company or its designee and provide all relevant or requested information and documents. Company,
                 either directly or through its designee, shall represent the interests of the Parties in connection with such
                 request, allegation, inquiry, or determination and shall have the sole right to determine (1) whether to
                 conducta recall campaign, and (2) whether to challenge the determination of a Governmental Authority
                 before such Governmental Authority or in court. Supplier will fully cooperate in any such recall
                 campaign or challenge. For purposes of this Section 5.a.i, “immediately” shall mean within three (3)
                 business days following the day of receipt of such request, allegation, inquiry, or determination.

          ii.    If, asaresult of field experience, test data or otherwise, Supplier believes it may be necessary or desirable
                 to conduct arecall campaign or otherservice campaign relating to any Vehicles or the parts thereof, then
                 (1) Supplier shall immediately notify Company to that effect; (2) Company shall decide whether to
                 conduct a recall campaign or other service campaign; and (3) Supplier will fully cooperate in any such
                 recall campaign or otherservice campaign. For purposes ofthis Section 5.a.ii, “immediately” shall mean
                 within three (3) business days following the day on which Supplier believes a recall campaign or other
                 service campaign is necessary or desirable.

          ili.   If, as a result of field experience, test data or otherwise, Company believes it may be necessary or
                 desirable to conduct a recall campaign or other service campaign relating to any Vehicles or the parts
                 thereof, then (1) Company shall immediately notify Supplier to that effect; (2) Company shall decide
                 whether to conduct a recall campaign or otherservice campaign; and (3) Supplier will fully cooperate in
                 any such recall campaign or other service campaign. For purposes of this Section 5.a.ii, “immediately”
                 shall mean within three (3) business days following the day on which Company believes a recall
                 campaign or otherservice campaign is necessary or desirable.

          iv.    Supplier’s obligations under this Section 5.a and under Section 5.b.i are subject to Supplier’s reporting


                                                               14
     2022TW-L-K-2412
                 Case 23-10831-MFW                 Doc 3-3          Filed 06/27/23        Page 21 of 35




                 and compliance obligations to Governmental Authorities under applicable Law.

     b.   Corrective Actions.

                 In the event of either Section 5.a.i or Section 5.a.ii, Company shall decide the nature of the corrective
                 action to be taken and shall cause the required reports to be filed with the relevant Governmental
                 Authority. However, to the extent feasible, Company shall confer with Supplier before making such
                 decision. In the event that any recall campaign or other service campaign is required, Company, or its
                 designee, shall issue notification letters and shall administer any such campaign. Company and Supplier
                 shall cooperate in exchanging information and otherwise for purposes of responding to requests for
                 information from a Governmental Authority.

          ii.    Unless otherwise agreed upon, all costs and expenses incurred by each Party in connection with this
                 Section 5 shall be borne by such Party; provided, however, that if a recall campaign or other service
                 campaign is conducted or if a penalty, fine, or other assessment is levied relating to any Vehicles and
                 the parts thereof, the costs and expenses for said campaign and said penalty, fine, or other assessment
                 shall be initially borne by Company and, except as otherwise agreed to by the Parties, shall be reimbursed
                 by Supplier where Supplier is responsible therefor in accordance with and subject to the principles of
                 responsibility allocation under Section 4.

          iil.   Supplier shall make a record ofall safety related parts required to be tracked by Governmental Authority
                 and the manufacturer’s codes of the tires on each Vehicle. Supplier shall maintain such information as
                 required by Law or, if not required by Law, as agreed by the Parties. All records relating to such tracking
                 maintained by either Party shall be provided to the other Party as reasonably requested or as required by
                 Law. Any records or information necessary for the appropriate tire manufacturer to conducta tire recall
                 campaign shallbe furnished to such tire manufacturer by Company in such manner and content as agreed
                 upon by Company and Supplier.

6.   Payment.

     a.   Vehicle Invoice. Upon acceptance ofa Vehicle, Supplier shall issue to Company one or more invoices for
          the Vehicle Payment. For each Vehicle accepted by Company in accordance with Section 2.e, Supplier shall
          be entitled to a “Manufacturing Value Add Payment” in the amount of $8,000, provided that if actual Vehicle
          production volumes materially vary from expected volumes (500 Vehicles in 2022 and 2,000 Vehicles in
          2023), the Parties will negotiate in good faith a possible adjustment,up or down, of the Manufacturing Value
          Add Payment. The form and content (including the number of invoices) shall be agreed to by the Parties.

     b.   Other Invoices. Supplier shall issue to Company an invoice for:

          i.     Service Parts, upon delivery to Company. During the production period of the Vehicle, Service Parts
                 prices shall be equal to the then current BOM price, plus any incremental costs to Supplier of providing
                 service parts. Following the production period, Service Parts prices shall be equal to the service prices
                 charged by Component Providers, plus incremental costs to Supplier of providing service parts.

          ii.    Amounts owed to Supplier underthe allocation principles set forth in Section 4.d, when determined;

          iii.   Amounts due to Supplier under the Agreement, including under Section 9, when determined;

          Iv.    Termination-related amounts, in accordance with the provisions of Section 12.b; and

          Vv.    Any other amounts due to Supplier underthe Agreement, as mutually agreed to in writing by the Parties.

     c.   Invoice Payment. All sales of Vehicle by Supplier shall be to Company (although Vehicle may be shipped to
          Subsidiaries of Company), and Company shall pay Supplier all monies when due. Payment of all invoices
          shall be net 30 days from date of invoice. Payment to Supplier shall be in U.S. dollars and in immediately



                                                               15
     2022TW-L-K-2412
               Case 23-10831-MFW                  Doc 3-3          Filed 06/27/23          Page 22 of 35




          available funds.

     d.   Disputes. If there is any good faith dispute over an invoice, Company shall pay the undisputed amount and
          the Parties shall negotiate in good faith to resolve any issues regarding any amounts still in dispute in
          accordance with Section 23. Each Party shall continue to perform its obligations under this Agreement during
          the continuation of any such dispute and Company’s partial payment hereunder shall not constitute a breach
          of its obligations herein, provided thatifthe amount in dispute exceeds $5,000,000, then Supplier may suspend
          performance, further provided that Supplier will resume performance if Company pays the amount in dispute
          in excess of such threshold, even under protest.

     e.   Setoff. All amounts due from one Party to the other under this Agreement are net of any indebtedness and
          subject to setoff or recoupment in accordance with UCC §2-717.

     f.   Taxes. Company     shall be responsible for all federal, foreign, state and local sales, use, excise and other taxes
          relating to the Vehicles (except taxes based on Supplier’s income), all delivery, shipping,and transportation
          charges and all foreign agent or brokerage fees, document fees, customcharges, and duties.

     g.   Liens. In the event any applicable Law permits the creation of a lien in any Vehicle accepted by Company,
          Company hereby grants Supplier a lien in any such Vehicle to secure payment of the Vehicle Payment;
          provided, however, that Supplier shall take any and all actions necessary or desirable to release such lien at
          the time Company offers such Vehicle for sale. As a condition of such release, Company hereby grants
          Supplier a lien in any receivable associated with such Vehicle. Supplier specifically waives any and all other
          reservations, liens, security interests, or similar encumbrance in any Vehicle which it might acquire by
          operation of Law, by judicial process,by judgment, or otherwise.

7.   US Government Contracting Requirements. Supplier acknowledges that Company may sell certain Vehicles
     manufactured by Supplier to the United States government pursuant to agreements that require Company to flow
     down certain requirements to Supplier. Supplier agrees to comply with any requirements that Company is required
     by law or such government contracts to flowdown to Supplier, which, notwithstanding Section 24.e, may be
     attached hereto and incorporated herein by Company on notice to Supplier.

8.   Import_and Export. All transactions subject to this Agreement shall be made in compliance with all applicable
     U.S. export control, economic sanctions, customs, and import laws and regulations. The Company shall be
     responsible for obtaining any licenses or other authorizations required under the U.S. export control and trade
     sanctions laws and regulations, including the Export Administration Regulations administered by the U.S.
     Department of Commerce’s         Bureau of Industry and Security, and the economic sanctions regulations
     administered by the U.S. Department of Treasury’s Office of Foreign Assets Control, and any military related
     uses regulated by the Department of State’s, International Traffic in Arms (ITAR). The Company shall not export
     the Vehicle to any country other than Canada without prior notification to the Supplier. The Supplier shall be
     responsible for clearing through customs administration (into the United States and out of any country of export)
     supplies relating to the Vehicle (including parts, materials, components, and assemblies) that are ordered by the
     Supplier and the Company shall be responsible for the customs administration for any supplies relating to the
     Vehicle (including parts, materials, components,   and assemblies) that are ordered directly by the Company. Each
     Party shall ensure that the imports of supplies relating to the Vehicle that are directly ordered by that Party are
     made in compliance with U.S. Customs laws and regulations, and other U.S. and state regulatory requirements
     necessary for import into the United States. Each Party shall be responsible for paying or ensuring payment of all
     applicable duties and fees for imports of supplies relating to the Vehicle that are directly ordered by that Party.
     Each Party shall take all reasonable actions at the request of the other Party so each Party can comply with its
     obligations in this Section.

9.   Changes   and Obsolescence.

     a.   Changes to Manufacturing Services, Packaging Specifications and Test Procedures. Company may, in
          writing, request a change to the Manufacturing Services, Packaging Specifications and Test Procedures at
          any time. Supplier will analyze the requested change and provide Company with an assessment of the effect
          that the requested change will have on cost, manufacturing, scheduling, delivery, implementation, or other


                                                              16
     2022TW-L-K-2412
                  Case 23-10831-MFW                  Doc 3-3        Filed 06/27/23         Page 23 of 35




           material aspects of its performance. Company will be responsible for all costs associated with any accepted
           changes, and in return Company shall also receive all benefits associated with any such accepted changes,
           except if the change has been initially suggested to Company by Supplier, in which case Supplier and
           Company will negotiate in good faith a sharing of the benefits and costs. Any such change shall be
           documented in a written change order and shall become effective only upon mutual written agreement of
           both Parties to the terms and conditions of such change order, including changes in time required for
           performance, cost, and applicable delivery schedules.

      b.   Engineering Changes. Company may request Engineering Changes to the Vehicle in writing at any time (a
           “Change Request’). Supplier will analyze the Change Request and inform Company within a reasonable
           time, not toexceed 10 business days, if it can satisfy the Change Request, and if it can, a good faith estimate
           ofthe time and cost required to implement the Engineering Change, and if it cannot, the reasons preventng
           Supplier from satisfying the Change Request. Any such change shall be documented in writing and shall
           become effective only upon mutual written agreement of both Parties of the terms and conditions of such
           change, including changes in time required for performance, cost (including cost of materials on hand or on
           order in accordance with original Build Schedule), and applicable delivery schedules.

      c.   Treatment of Obsolete/End-of-Life Material/Part Change Notification. If a Component becomes obsolete as
           a result of an Engineering Change or otherwise, Company shall be liable to Supplier or the Component
           Provider, as the case may be, for all costs of the obsolete materials, provided that Supplier will collaborate
           with Company and otherwise use Commercially Reasonable Efforts to minimize the volume and value of
           obsolete materials, whether held by Supplier or a Component Provider, by taking the following steps:

           i.     Use all Components and materials to the extent possible.

           ii.    As soon as is commercially    practical, reduce or cancel component and material      orders to the extent
                  contractually permitted.

           iii.   Return all Components and materials to the extent contractually permitted.

           iv.    Subject to Company’s written consent, make all Commercially        Reasonable Efforts to sell Components
                  and materials to third parties.

           v.     Assist Company     to determine   whether current work     in progress should be completed,   scrapped or
                  shipped “as is”.

10.   Term, The term of this Agreement shall begin on the Effective Date and, unless earlier terminated pursuant to
      Section 11, it shall continue for a mmimum period of eighteen (18) months thereafter (“Initial Term”). It shall
      thereafter continue on a month to month basis, provided that either Party may terminate this Agreement by written
      notice issued by its senior executive (“Termination Notice”), effective upon the later of 12 months from the
      expiration of the Initial Term or 12 months from the issuance of the Termination Notice. During the period
      between the issuance ofthe Termination Notice and the effective date of termination, this Agreement shall remain
      in full force and effect.

11.   Termination      for Cause. The Agreement may be terminated for causeas follows:

      a.   Termination for Breach. Either Party may terminate this Agreement based on the material breach by the other
           Party of the terms of this Agreement, provided that the Party alleged to be in material breach receives written
           notice setting forth the nature of the breach at least 30 days prior to the intended termination date. During
           such time the Party in material breach may cure the alleged breach and if such breach is cured within such
           30-day period, no termination will occur, and this Agreement will continue in accordance with its terms. If
           such breach shall not have been cured, termination       shall occur upon the termination date set forth   in such
           notice.

      b.   Termination for Bankruptcy/Insolvency. Upon the happening ofany of the following events with respect toa




                                                               17
      2022TW-L-K-2412
                  Case 23-10831-MFW                 Doc 3-3          Filed 06/27/23         Page 24 of 35




           Party, this Agreement may be terminated immediately.

           i.     The appointment of a receiver or custodian to take possession of any or all of the assets ofa Party, or
                  should a Party make an assignment for the benefit ofcreditors, or should there be an attachment,execution,
                  or otherjudicial seizure of all or a substantial portion ofa Party’s assets, and such attachment, execution,
                  or seizure is not discharged within 30 days.

           ii.    A Party becomes a debtor, either voluntarily or involuntarily, under Title 11 ofthe United States Code
                  or any other similar law and, in the case of an involuntary proceeding, such proceeding is not dismissed
                  within 30 days of the date of filing.

           ili.   The dissolution or termination of the existence of a Party whether voluntarily, by operation of law or
                  otherwise.

12.   Obligations     at Termination.    This Section 12 shall apply if this Agreement terminates (which for purposes of
      this Section, includes expiration, cancellation, or termination)     for any reason, whether pursuant to Section      10,
      Section 11, or otherwise. On termination:

      a.   Existing Rights and Obligations. Neither Party shall be excused from its obligations or liabilities under this
           Agreement which have accrued priorto the effective date of termination ofthe Agreement, including payment
           for all monies due Supplier.

      b.   Termination Claim. Within 90 days following the effective date oftermination, (as determined under Sections
           10 or 11, as the case may be), Supplier shall submit to Company its claim for amounts due to it arising out
           of the termination (“Termination Claim”). Company shall pay the Termination Claim within 30 days of
           submittal. Supplier will provide to Company all information reasonably necessary to confirm the Termination
           Claim. Subject to Section 12.d, Company shall pay the charges claimed by Supplier as follows:

           i.     All amounts due for Vehicle which Supplier has completed manufacture prior to the effective date of
                  termination pursuant to an issued 4 Week Quantity/Option Build Schedule for which payment has not
                  been made;

           ii.    Supplier’s actual cost of Components, materials, and work-in-process on hand or on order as of the
                  effective date of termination pursuant to an issued 12 Week Quantity Build Schedules or the applicable
                  Component Lead-time, whichever is longer;

           iii.   Supplier’s other reasonable out of pocket amounts paid or to be paid to Directed Providers or other
                  providers incurred as a result of the termination;

           iv.    Supplier’s otherreasonable costs actually incurred as a result of the termination;

           v.     Anyunrecaptured
                               NRE         Costs; and

           vi.    Except in the event of termination at Supplier’s election under Section 10 or termination by Company
                  for cause under Section 11, depreciation on equipment idle up to 6 months after the Termination
                  Effective Date.

           In addition, if Supplier holds Vehicles, Components, materials, or work-in-process in excess of the volumes
           for which Company is obligated to purchase, Company may elect to purchase them on the same terms.

      c.   Company Purchase. All Components, Vehicles, materials, and work in process for which Company shall have
           paid one hundred percent (100%) of the amount due under Section 12.b shall be held by Supplier for
           Company’s      account and Company      may   take possession of them on an AS-IS,     WHERE-IS     basis, not later
           than thirty days after full payment.




                                                                18
      2022TW-L-K-2412
                 Case 23-10831-MFW               Doc 3-3          Filed 06/27/23        Page 25 of 35




      d.   Duty to Mitigate Costs. Both Parties shall, in good faith, undertake Commercially Reasonable Efforts to
           mitigate the costs of termination, expiration, or cancellation. Supplier (or Company, if it is the direct
           purchaser) shall make Commercially    Reasonable Efforts to cancel all applicable Component Purchase Orders
           and reduce component inventory through return for credit programs or allocate such Components and
           materials for alternate Company programs if applicable, or other customer orders provided the same can be
           used within 30 days of the termination date.

13.   Property   of the Parties.

      a.   Property of the Supplier: All Property used by Supplier in performing under this Agreement which is not
           Company Property shall be and remain the property of Supplier and, if in the possession of Company, shall be
           deemed a bailment.

      b.   Property of Company. All Tooling and other machinery, equipment, transportation equipment, systems,
           technology,   and other similar items that are provided by Company to Supplier without charge, or for which
           Supplier has been reimbursed by or on behalf of Company and are kept by Supplier in the Manufacturing
           Plant (‘Company Property’), shall be and remain the property of Company and, as applicable, be deemed
           a bailment, provided that, for purposes of clarity, Transferred Assets as defined in the Asset Purchase
           Agreement shall not be Company Property. Supplier shall bear the risk of loss ofand damage to all Company
           Property, unless caused by Company’s breach of its obligations under this Agreement. Company Property
           shall be used solely by Supplier to perform under this Agreement and not for any other purpose. Company
           Property may notbe moved from the Manufacturing Plant or substituted with any other property without the
           written consent (which may be withheld) of Company, provided that if and to the extent that Company’s
           failure to consent to any transfer ofor substitution of Company Property requested by Supplier and necessary
           for the performance of the Manufacturing Services materially interferes with Supplier’s ability to perform
           the Manufacturing Services, Supplier shall be relieved ofsuch obligations. Company Property must be stored
           and maintained and clearly identified as Company Property through tagging or other commercially
           reasonable means to avoid comingling of Company’s Property with Supplier’s Property or the property of
           any third party, free and clear of Supplier-created liens and encumbrances, and in good condition. If this
           Section and Section 2.1 conflict, Section 2.1 shall prevail.

      c.   No License. Performance by either Party under the Agreement will not transfer any rights of ownership in,
           or license of, or constitute permission granted by to the owning Party to the other Party to use the owning
           Party’s property except (i) if otherwise consented to by the owning Party; or (ii) as relates to license rights
           only, to the extent necessary for the non-owning Party to fulfill its obligations under thisAgreement.

      d.   Return of Company Property. Upon the request of Company, all Company Property (except Company
           Property that has been consumed or otherwise disposed of with Company’s consent) must be immediately
           released or returned to Company or delivered by or on behalf of Supplier to Company or its designee, in
           accordance with Company requirements and this Agreement and at Company’s expense. Supplier hereby
           waives any statutory or other lien or lien rights it may have againstor in any property or rights of Company
           (including any Company Property). When any Company Property is no longer reasonably necessary for
           Supplier to perform under this Agreement, Supplier will return all such Company Property (except Company
           Property that has been consumed or otherwise disposed of with Company’s consent) to Company or its
           designee at Company’s expense. If and to the extent that Company’s repossession of Company Property
           materially interferes in any material respect with Supplier’s ability to perform the Manufacturing Services,
           Supplier shall be relieved of such obligations.

14.   Confidentiality.

      a.   Confidentiality Obligations. In order to protect both Parties’ Proprietary Information and Technology, the
           Parties agree that each Party shall use the same degree of care, but no less than a commercially reasonable
           degree of care, as such Party uses with respect to its own similar information to protect the Proprietary
           Information and Technology of the other Party and to prevent any use of the other’s Proprietary Information
           and Technology other than for the purposes of this Agreement. This Section 14 imposes no obligation
           upon a Party with respect to Proprietary Information and Technology which: (a) was known to such Party


                                                             19
      2022TW-L-K-2412
               Case 23-10831-MFW                  Doc 3-3         Filed 06/27/23         Page 26 of 35




           before receipt from the disclosing Party; (b) is or becomes publicly available through no fault of the receiving
           Party; (c) is rightfully received by the receiving Party from a third party without a duty of confidentiality;
           (d) is independently developed by the receiving Party without a breach of this Agreement or in reliance on
           the Proprietary Information and Technology ofthe Disclosing Party; or (e) is disclosed by the receiving Party
           with the disclosing Party’s prior written approval. If a receiving Party is required by Law or a Governmental
           Authority to disclose Proprietary Information and Technology, this Agreement or any portion hereof, then
           such receiving Party agrees to give the disclosing Party prompt notice of such requirements, and, except as
           required by Law ora Governmental Authority, neither the receiving Party norits representatives shall disclose
           the Proprietary Information and Technology until the disclosing Party has had a reasonable opportunity to
           seek a protective order or other appropriate relief to contest the disclosure.

      b.   Employees, Agents,and Representatives. Each Party represents and warrants to the other that it has adopted
           policies and procedures consistent with the Party’s obligations underthis Section 14 with respect to the receipt
           and disclosure of confidential or proprietary information, such as the Proprietary Information and
           Technology, with its employees, agents, and representatives. Each Party represents and warrants to the other
           Party that it will cause each of its employees, agents, and representatives to maintain and protect the
           confidentiality of the other Party’s Proprietary Information and Technology and shall be responsible for any
           breach thereof by any of its employees, agents, or representatives.

      c.   Term and Enforcement. The confidentiality obligation set forth in this Agreement shall be observed during
           the term of the Agreement and for a period of five years following the termination of this Agreement. Each
           Party acknowledges that a breach of any of the terms ofthis Section 14 may cause the non-breaching Party
           irreparable damage, for which the award of damages would not be adequate compensation. Consequently,
           the non-breaching Party may institute an action to enjoin the breaching Party from any and all acts in violation
           of those provisions, which remedy shall be cumulative and not exclusive, and shall be in addition to any other
           relief to which the non-breaching Party may be entitled at law or in equity. Such remedy shall not be subject
           to the arbitration provisions set forth in Section 23.

      d.   Return of Proprietary Information   and Technology.
                                                            Upon       the termination, cancellation, or expiration of this
           Agreement all Proprietary Information and Technology shall, upon written request, be returned to the
           respective Party, or at the respective Party’s discretion, destroyed by the receiving Party.

15.   Intellectual Property   Rights: Assignment.

      a.   Company Existing Intellectual Property. Company does not transfer to Supplier any Company Intellectual
           Property or any right, title, or interest therein, other than the limited right to use such Company Intellectual
           Property strictly and solely in connection with the manufacture of the Vehicle pursuant to the terms of this
           Agreement and any related parts and Components thereofas may be authorized in writing by Company and
           Supplier shall not, without the prior written consent of Company, use, or permit the use of, any Company
           Intellectual Property, or any materials or information supplied by or on behalf of Company, for any other
           purpose. Any suchuse of Company Intellectual Property by Supplier shall besubject to the confidentiality
           provisions in Section 14. All Company Intellectual Property shall be and remain the sole and exclusive
           property of Company. Without limiting the generality of the foregoing, Supplier shall not reproduce,
           distribute, disclose, or sell to any Person or third party other than Company any of Company Intellectual
           Property or derivation thereof or any materials or information supplied by or on behalf of Company or its
           applicable Affiliate without the prior written consent of Company or the applicable Affiliate in each instance.

      b.   Goodwill and Acquired Rights. Any goodwill derived from the use by Supplier of Company Intellectual
           Property shall inure to the benefit of Company. If Supplier acquires any rights in or relating to any Company
           Intellectual Property, by operation of law or otherwise, these rights are deemed and are hereby irrevocably
           assigned to Company without cost or further action by either Party. Supplier agrees to take any and all actions
           in the future, including executing and delivering any and all requested documents, to assign all right, title,
           and interest in and to any such Company Intellectual Property.

      c.   Protection of Intellectual Property. Each Party shall use the same degree of care, but no less than a
           commercially reasonable degree of care, as such Party uses with respect to its own similar Intellectual


                                                             20
      2022TW-L-K-2412
                Case 23-10831-MFW                    Doc 3-3          Filed 06/27/23              Page 27 of 35




           Property and to prevent any use of the other’s Intellectual Property other than for the purposes of this
           Agreement.

      d.   Prohibited Acts. Supplier shall not: (i) take any action that may interfere with any Company’s rights in or to
           Company Intellectual Property, including Company’s ownership or exercise thereof; (i) challenge any right,
           title, or interest of company in or to Company Intellectual Property; or (iii) make any claim or take any action
           adverse to Company’s ownership of Company Intellectual Property, unless in good faith protection of its own
           rights under this Agreement.

      e.   Supplier Existing Intellectual Property. Supplier shall retain all right, title, and ownership to any Supplier
           Existing Intellectual Property. Upon full payment of all monies due and owing under this Agreement,
           Supplier will grant to Company a worldwide, non-exclusive, irrevocable, fully paid-up, royalty-free, right
           and license under Supplier’s intellectual property rights to the Supplier Existing Intellectual Property only
           insofar as is required for Company to use, sell, or distribute the Vehicle provided as part of the Manufacturing
           Services performed by Supplier pursuant to this Agreement.

      f.   Inventions and Improvements Made by Supplier. Except for Supplier Existing Intellectual Property
           (including manufacturing processes and/or manufacturing process improvements), in the event that during
           the Term, Supplier or Supplier Personnel make any inventions or improvements relating to the Vehicle or
           the Manufacturing Process (“Inventions            and Improvements”),       Supplier shall immediately     furnish
           Company with all information in connection with such inventions or improvements, and any Intellectual
           Property rights derived from such inventions or improvements shall insure to the benefit of Company. If
           Supplier acquires any rights in orrelating to suchInventions or Improvements, by operation oflaw or otherwise,
           these rights are deemed and are hereby irrevocably assigned to Company without cost or further action by
           either Party, except that Inventions and Improvements to the Manufacturing Processes shallremain Supplier
           Existing Intellectual Property, subject to the license set forth in Section 15.e. Supplier agrees to take any and
           all actions in the future to assign, including executing and delivering any and all requested documents, all right,
           title, and interest in and to any such Inventions and Improvements. Further, Company and its Affiliates shall
           have the right to apply for a patentin their ownname or their employee’s name in any country on such
           Inventions and Improvements without any payment to Supplier or Supplier Personnel, and Supplier shall
           immediately comply with any reasonable requests made by Company or its Affiliate in connection with such
           patent application.

16.   Indemnification.

      a.   Third Party Indemnification. Except as otherwise provided herein, each Party (“Indemnifying                Party”) shall
           indemnify,     defend,   and hold   the other Party   and its directors,   officers,   employees,   agents, contractors,
           successors, and assigns (individually, an “Indemnified Party” and, collectively, the “Indemnified Parties”)
           harmless from and against any and all Losses from third party claims (a “Third party Loss”) for property
           damage and personal injury or death asserted against an Indemnified Party, to the extent arising out of, or
           resulting from, directly or indirectly, the other Party’s (i) performance or failure to perform any of its
           obligations under, or breach of, the terms of this Agreement; (ii) negligent acts or willful or intentional
           misconduct; or (iii) violation of any Laws, in each case except to the extent resulting directly from an
           Indemnified Party’s gross negligence or willful or intentional misconduct. Third Party Losses shall also
           include all Losses arising from Intellectual Property infringement, with Supplier to be the Indemnifying Party
           if the infringement arises out of the Manufacturing Services and Company to be the Indemnifying Party
           otherwise. Neither Party shall be entitled to indemnification except as expressly provided in this Agreement.

      b.   Indemnification Procedure.

           i.   Indemnified Party shall promptly notify Indemnifying Party in writing of any Third party Losses and
                cooperate with Indemnifying Party at the Indemnifying Party’s sole cost and expense. Except as
                provided in Section 16.b.ii:

                (1).   Indemnifying Party shall immediately take control of the defense and investigation of such Losses
                       and shall employ counselof  its choice to handle and defend the same, at Indemnifying Party’s sole


                                                                 21
      2022TW-L-K-2412
                  Case 23-10831-MFW                   Doc 3-3         Filed 06/27/23        Page 28 of 35




                          cost and expense.

                  (2).    Indemnifying Party shall not settle any Losses in a manner that adversely affects the rights of any
                          Indemnified Party without such Indemnified Party’s prior written consent, which shall not be
                          unreasonably withheld or delayed.

                  (3).    Indemnified Party may participate in and observe the proceedings at its own cost and expense,
                          provided that if such counselis necessary because ofa conflict of interest with Indemnifying Party
                          or its counsel or because Indemnifying Party does not assume control of the defense ofa claim for
                          which Indemnifying Party is obligated to indemnify an Indemnified Party hereunder, Indemnifying
                          Party shall bear such expense to a reasonable extent.

           ii.    Notwithstanding anything to the contrary in this Section 16.b, for any Third Party Loss brought or based
                  on the alleged product liabilities of Vehicles or Components resulting in alleged injury to person or
                  property (“PL Claims”) (i) Supplier agrees that Company shall have full power and control over the
                  negotiation and defense thereof, including sole authority to retain attorneys and experts, establish defense
                  strategies, and settle or take to trial PL Claims, without consultation with or consent of Supplier (subject
                  to the final sentence ofthis subpart); and (ii) Supplier shall fully cooperate with Company, at Supplier’s
                  expense, for the effective defense of such PL Claims to the fullest extent possible in investigation into
                  the facts or circumstances surrounding such PL Claims, including responding to discovery requests,
                  providing technical support and witnesses for deposition or trial, and otherwise fully cooperating in the
                  defense and trial of the matter. Company shall not settle any PL Claims in a manner that materially
                  adversely affects the rights of Supplier without Supplier’s prior written consent, which shall not be
                  unreasonably withheld or delayed (the Parties agreeing that the payment of any amount as a result of
                  such settlement shall not be deemed to adversely affect Supplier).

           iit.   An Indemnified Party's failure to perform any obligations under this Section 16.b shall not relieve
                  Indemnifying Party of its obligations under this Section 16.b except to the extent that Indemnifying Party
                  can demonstrate that it has been materially prejudiced as a result of such failure.

           iv.    If the Parties disagree as to which (if either) Party is entitled to indemnity, it shall be resolved in
                  accordance with Section 23. If it is determined that one Party has been wrongfully identified by the other
                  Party as an Indemnifying Party, the other Party shall be liable for all such Losses.

17.   Limitation         of Damages.

      a.   LIMITATIONS.    EXCEPT    AS  OTHERWISE   PROVIDED     IN   SECTION    17.c, UNDER    NO
           CIRCUMSTANCES      SHALL EITHER PARTY BE LIABLE TO THE OTHER PARTY OR TO ANY
           OTHER PERSON OR ENTITY UNDER ANY CONTRACT, TORT, STRICT LIABILITY, NEGLIGENCE,
           OR OTHER LEGAL OR EQUITABLE CLAIM OR THEORY FOR ANY SPECIAL, CONSEQUENTIA L,
           INDIRECT, EXEMPLARY, MULTIPLE, OR PUNITIVE DAMAGES WHETHER SUCH PARTY WAS
           INFORMED    OR WAS AWARE OF THE POSSIBILITY        OF SUCH LOSS OR DAMAGE.           THE
           FOREGOING SHALL NOT EXCLUDE OR LIMIT EITHER PARTY’S LIABILITY FOR DEATH OR
           PERSONAL    INJURY RESULTING     FROM ITS NEGLIGENCE      TO THE EXTENT       THAT SUCH
           LIABILITY CANNOT BY LAW BE LIMITED OR EXCLUDED. FOR CLARITY, THE FOLLOWING
           SHALL BE DIRECT DAMAGES: (1) WITH RESPECT TO RECALLS, LMC’s REASONABLE COSTS
           OF ADMINISTRATION AND ISSUING NOTICE AND THE REASONABLE LABOR AND MATERIAL
           COSTS (INCLUDING     THROUGH    THIRD PARTY SERVICE PROVIDERS)        OF REPAIRING    OR
           REPLACING THE COMPONENT(S) AND ANY OTHER COMPONENT(S) IMPACTED THEREBY;
           AND (2) WITH RESPECT       TO WARRANTY    CLAIMS,   LMC’s REASONABLE         LABOR  AND
           MATERIAL     COSTS   (INCLUDING   THROUGH   THIRD   PARTY     SERVICE    PROVIDERS)   OF
           REPAIRING OR REPLACING THE COMPONENT(S) AT ISSUE AND ANY OTHER COMPONENT(S)
           IMPACTED THEREBY.

      b.   CAP ON AGGREGATE LIABLITY. EXCEPT                     AS OTHERWISE PROVIDED IN SECTION 17.c, IN NO
           EVENT SHALL SUPPLIER’S AGGREGATE                      LIABILITY IN ANY CALENDAR YEAR UNDER THIS


                                                                 22
      2022TW-L-K-2412
               Case 23-10831-MFW                  Doc 3-3         Filed 06/27/23         Page 29 of 35




           AGREEMENT ENTERED INTO PURSUANT HERETO EXCEED THE GREATER OF (I) $6,000,000
           AND (ID) 100% OF THE TRAILING  TWELVE  MONTH’S  MANUFACTURING    VALUE  ADD
           PAYMENT FROM THE FIRST FULL MONTH PRIOR TO THE DATE THE CLAIM OCCURRED.

      c.   EXCEPTIONS. SECTIONS    17.a AND 17.6 SHALL NOT APPLY TO DAMAGES OR LIABILITIES
           ARISING FROM (i) THE INDEMNITIES SET FORTH HEREIN (PROVIDED THAT THE UNINSURED
           PORTION OF SUPPLIER’S     INDEMNITY LIABILITY SHALL BE SUBJECT TO SECTION    17.b);
           (ii) LIABILITY FOR BREACH    OF SECTION 14; (iii) LIABILITY FOR FRAUD OR WILFULL
           MISCONDUCT OR VIOLATION OF LAW; OR (iv) A PARTY'S OBLIGATION TO PAY ATTORNEYS'
           FEES AND COURT COSTS IN ACCORDANCE WITH SECTION 24.d.

18.   Insurance. Each Party shall procure and maintain at all times during the term ofthis Agreement and at its own
      cost (unless otherwise indicated on Schedule 18) with an insurer of good financial standing and repute insurance
      policies meeting the coverage and requirements specified on Schedule 18; provided that: with respect to Product
      Recall and Product Liability insurance, the Parties shall: (i) have a commercially reasonable time (but not later
      than the start of production) to procure insurance; and (ii) if such insurance is not commercially available on
      mutually acceptable terms (provided that neither Party shall unreasonably withhold its consent to such terms), the
      Parties shall confer in good faith on any needed amendment to the Agreement and provided, further that for any
      joint insurance policies, neither Party shall be required to pay its portion of the premium prior to the date that
      such premium is due. Each Party shall provide the other Party upon request with sufficient proof that it has
      procured and maintained insurance coverage in accordance with this Section.

19.   Relationship of Parties. Supplier shall perform its obligations hereunder as an independent contractor. Nothing
      contained herein shall be construed to imply a partnership or joint venture relationship between the Parties. The
      Parties shall not be entitled to create any obligations on behalf of the other Party, except as expressly provided by
      this Agreement. The Parties will not enter into any contracts with third parties in the name of the other Party
      without the prior written consent ofthe other Party.

20.   Publicity. Without the consent ofthe other Party, neither Party shall refer to this Agreement in any publicity or
      advertising or disclose to any third party any of the terms of this Agreement. Notwithstanding the foregoing,
      neither Party will be prevented from, at any time, furnishing any information to any governmentalor regulatory
      authority, including the United States Securities and Exchange Commission or any other foreign stock exchange
      regulatory authority, that it is by law, regulation, rule or other legal process obligated to disclose. A Party may
      disclose the existence of this Agreement and its terms to its attorneys and accountants, Component Providers,
      customers, and others only to the extent necessary to perform its obligations and enforce its rights hereunder.

21.   Force Majeure. Any delay or failure of either Party to perform its obligations under this Agreement (other than
      the payment of money) shall not constitute a breach or default underthis Agreement if, and only to the extent that,
      the delay or failure to perform is caused by unforeseen circumstances beyond the reasonable control of the Party
      that failed to perform or whose performance was delayed, including acts of God; blackouts; power failures;
      inclement weather; fire; explosions; floods; hurricanes; typhoons; tommadoes; earthquakes; epidemics; component
      shortages ormaterial shortages; sabotage; accidents; destruction of production facilities; riots orcivil disturbances;
      acts of government or governmental agencies, including changes in law or regulations that materially and
      adversely impact the Party; provided that the non- performing Party was not a cause of such event or otherwise
      at fault or negligent and that such cause could not have been prevented or mitigated through Commercially
      Reasonable Efforts (each such event, a “Force Majeure Event”). The Party declaring a Force Majeure Event shall
      make Commercially Reasonable Efforts to continue to meet its obligations throughout the duration of the Force
      Majeure Event and shall notify the other Party promptly (in no event more than five business days ofdiscovery
      of the event) when the Force Majeure Event begins (including an explanation of the nature of the Force Majeure
      Event) and when such Force Majeure Event has terminated. The suspension of any obligations shall only last
      during the time the Force Majeure Event continues and such reasonable time thereafter to allow said Party to
      respond to such Force Majeure Event. The Party affected by a Force Majeure Event shall have the duty and
      obligation to mitigate the effects of the Force Majeure Event by making Commercially Reasonable Efforts to
      limit or prevent any delay or non-performance of any obligation under this Agreement. If the force majeure event
      can be eliminated or mitigated by a change to the Component or Vehicle or other changes, Section 9 shall apply.
      If the delay or failure of a Party to perform its obligations caused by the Force Majeure Event lasts (or is



                                                             23
      2022TW-L-K-2412
                Case 23-10831-MFW                  Doc 3-3           Filed 06/27/23       Page 30 of 35




      reasonably believed by both Parties that it shall last) more than sixty (60) days, the Party not declaring the Force
      Majeure Event may immediately, in its sole discretion,(a) cancelor modify any performance affected by the Force
      Majeure Event and seek alternate performance elsewhere; or (b) terminate this Agreement, provided that such
      action shall not give rise to a claim for damages against the Party unable to perform its obligations.
      Notwithstanding anything in this Section 21 to thecontrary, no delay or failure of Supplier to perform its
      obligations under this Agreement will be considered a Force Majeure Event, and such delay or failure to perform
      will not be excused, if and to the extent that it iscaused by labor problems of Supplier suchas,by way of example
      and not by way of limitation,    lockouts, strikes, and slowdowns.

22.   Governance.

      a.   Steering Committee: The Parties will establisha steering committee as the top management body fortheParties’
           cooperation on all relevant matters related to the Vehicle and to facilitate resolution of any disputes that may
           arise from time to time (“Steering Committee”). The Steering Committee shall be comprised of.members
           appointed by Company from time to time and members appointed by Supplier from time to time. Either Party
           may convenea meeting of the Steering Committee on at least 10 business days advance notice unless each
           Party agrees to a different notice period. Each Party shall use Commercially Reasonable Efforts to identify
           in advance topics to be addressed at a Steering Committee Meeting.

      b.   Project Management: The Parties shall each appoint a project manager as the daily responsible officer for
           each Party’s team. Each project manager shall be the contact person for the respective other Party. Each
           project manager shall be entitled to bring any issues forward to the Steering Committee.

23.   Dispute Resolution/Arbitration.

      a.   Negotiation. The Parties shall use good faith efforts to resolve disputes, within 20 business days of written
           notice of such dispute. Such efforts shall include escalation of such dispute to the Steering Committee. All
           negotiations, statements, and communications pursuant to this Section for the resolution of Disputed Claims
           will be confidential and shall be treated as compromise and settlement negotiations and no such statements
           shall be deemed to be admissions of a Party. The Parties shall not rely on, or introduce as evidence in the
           arbitration or other judicial proceeding: (i) views expressed or suggestions made by a Party with respect toa
           possible settlement of the dispute; (ii) admissions made by a Party in the course of the settlement discussions;
           or (iii) the fact that a Party had or had not indicated a willingness to accept a proposal for settlement. There
           shall be no stenographic or audio record of the settlement discussions.

      b.   Arbitration. Any and all claims,   counterclaims,   demands, cause of action, disputes, controversies,and other
           matters in question arising out of or under this Agreement or the alleged breach of any provision hereof (all
           of which   are referred   to herein as “Disputed    Claims”),   whether such Disputed Claims    arise at law or in
           equity, under state or federal law, for damages or any other relief, shall be resolved by binding arbitration in
           Cuyahoga County, Ohio, USA, by the American Arbitration Association (“AAA/ ICDR”) in accordance with
           its International Arbitration Rules (the “Rules”) then in effect. The arbitration shall be administered by the
           AAA/ICDR and shall be conducted by the International Centre for Dispute Resolution, which is a Division
           of the American Arbitration Association. If the AAA/ ICDR is unable or legally precluded from
           administering the arbitration, then the parties shall agree upon an altemative arbitration organization,
           provided that, if the parties cannot agree, such organization shall be selected bythe Chief Judge of the United
           States Federal District Court of the Northern District of Ohio.

      c.   Procedure. The arbitration shall be conducted by a tribunal of three arbitrators. Within ten days after
           arbitration is initiated pursuant to the Rules, the initiating Party (the Claimant) shall send written notice to
           theother Party or Parties (the Respondent), with a copy to the office of the ICDR designating the first arbitrator
           (who shall not be a representative or agent of any Party but may or may not be an ICDR panel member and,
           in any case, shall be reasonably believed by the Claimant to possess the requisite experience, education, and
           expertise in respect of the matters to which the claim relates to enable such person to competently perform
           arbitral duties. With fifteen days after receipt of such notice, the Respondent shall send written notice to the
           Claimant, with a copy to the office of the ICDR and to the first arbitrator, designating the second arbitrator
           who shall not be a representative or agent of any Party but may or may not be an ICDR panel member and,


                                                                24
      2022TW-L-K-2412
                Case 23-10831-MFW                  Doc 3-3         Filed 06/27/23         Page 31 of 35




           in any case, shall be reasonably believed by the Respondent to possess the requisite experience, education and
           expertise in respect of the matters to which the claim relates to enable such person to competently perform
           arbitral duties. Within fifteen days after such notice from the Respondent is received by the Claimant, the
           Respondent and the Claimant shall cause their respective designated arbitrators to select any mutually
           agreeable ICDR panel member as the third arbitrator. If the respective designated arbitrators of the
           Respondent and the Claimant cannot so agree within said fifteen-day period, then the third arbitrator will be
           determined pursuant to the Rules. Prior to commencement of the arbitration proceeding, each arbitrator
           shall have provided the Parties with a resume outlining such arbitrator’s background and qualifications and
           shall certify that such arbitrator is not and has not been a representative or agent of any of the parties. If any
           arbitrator shall die, fail to act, resign, become disqualified   or otherwise cease to act, then the arbitration
           proceeding shall be delayed for 15 days and the Party by or on behalf     of whom such arbitrator was appointed
           shall be entitled to appoint a substitute arbitrator (meeting the qualifications set forth in this Section 23.c
           within such 15-day period; provided, however, that if the Party by or on behalf of whom such arbitrator was
           appointed shall fail to appoint a substitute arbitrator within such 15-day period, the substitute arbitrator shall
           bea neutral arbitrator appointed by mutual consent by the remaining two arbitrators within 15 daysthereafter.

      d.   Enforcement. Notwithstanding the provisions of this Section, a Party may file a complaint limited to:
           (i) compelling arbitration; (ii) enforcing an arbitral award; or (iti) seeking a preliminary injunction or similar
           provisional judicial relief pending the outcome of arbitration. Such a proceeding shall be filed either (1) in
           any state court ofcompetent jurisdiction located in the State of Ohio; or (2) in the United States District Court
           for the Northern District of Ohio, and the parties expressly consent, and waive any objections, to subject
           matter jurisdiction, personal jurisdiction, and venue in such courts. In addition, nothing herein shall be
           construed to require arbitration of a claim or dispute brought by a Person who is nota Party to this Agreement,
           or affect the ability of any Party to interplead or otherwise join another Party in a proceeding brought by a
           Person who is not a Party to this Agreement.

24.   Miscellaneous.

      a.   Notices. All notices, demands, consents, and other communications required under this Agreement shall be in
           writing and shall be given either by personal delivery, by nationally recognized overnight courier (with
           charges prepaid), by facsimile, email, or EDI (with telephone confirmation) addressed to the respective
           Parties at the following addresses:

                 Notice to Supplier:               Foxconn EV System LLC
                                                   4568 Mayfield Road, Suite 204
                                                   Cleveland, OH 44121
                                                   Attn: Liting Cai

                 with a copy to:                   Butzel Long
                                                   201 W. Big Beaver, Suite 1200
                                                   Troy, MI 48084
                                                   Attn: Sheldon Klein

                 Notice to Company:                Lordstown EV Corporation
                                                   38555 Hills Tech Drive
                                                   Farmington Hills, MI 48331
                                                   Attn: Daniel Ninivaggi

                 with a copy to                    Baker & Hostetler
                                                                   LLP
                                                    127 Public Square, Suite 2000
                                                   Cleveland, OH 44114
                                                   Attn: Ronald Stepanovic

      b.   Good Faith. The Parties agree to (a) act in good faith towards each otherin performing underthis Agreement;
           and (b) negotiate in good faith all matters, issues, or provisions which arise under or are related to this
           Agreement that require the parties to reach a consensus, understanding, oragreement (“Negotiated Matter”).



                                                              25
      2022TW-L-K-2412
          Case 23-10831-MFW                 Doc 3-3           Filed 06/27/23          Page 32 of 35




     If Company and Supplier cannotagreeon theresolution of a Negotiated Matterafter discussion and negotiation,
     and as a matter of last resort, the Parties   shall submit   such Negotiated    Matter for resolution pursuant to
     Section 23.

c.   Cumulative Remedies: Specific Performance. All rights and remedies provided in this Agreement are
     cumulative and not exclusive, and the exercise by either Party of any right or remedy does not preclude the
     exercise of any otherrights orremedies that may now orsubsequently be available at law, in equity,by statute,
     in any other agreement between the Parties, or otherwise.

d.   Attorneys’ Fees and Costs. In the event that attorneys’ fees or other costs are incurred to enforce paymentor
     performance of any obligation, agreement, or covenant between the Parties or to establish damages for the
     breach of any obligation, agreement, or covenant under this Agreement, or to obtain any other appropriate
     relief under this Agreement, whether by way of prosecution or defense, the prevailing Party shall be entitled
     to recover from the other Party its reasonable attorneys’ fees and costs, including any appellate fees and the
     costs, fees, and expenses incurred to enforce or collect such judgment oraward and any other relief granted.

e.   Amendment. No course of dealing between the Parties hereto shallbe effective to amend, modify, or change
     any provision of this Agreement. This Agreement may not be amended, modified, or changed in any respect
     except by an agreement in writing signed by an authorized officer or representative of each Party. The Parties
     may, subject to the provisions of this Section 24.ce, from time to time, enter into supplemental written
     agreements for the purpose of adding any provisions to this Agreement or changingin any manner the rights
     and obligations of the Parties under this Agreement or any Schedule hereto. Any such supplemental written
     agreement executed by the Parties shall be binding upon the Parties.

f.   Partial Invalidity. Whenever possible, each provision of this Agreement shall be interpreted in sucha way as
     to be effective and valid underapplicable law. If a provision is prohibited by or invalid under applicable law,
     it shall be ineffective only to the extent of such prohibition or invalidity, without invalidating the remainder
     of such provision or the remaining provisions of this Agreement.

g.   Monies. All references to monies in this Agreement shall be deemed to mean lawful monies of the United
     States of America.

h.   Further Assurances.   Following   the Effective   Date, each of the Parties    shall, and shall cause its respective
     Affiliates, as applicable, to execute such further documents and perform such further acts, as may                be
     reasonably necessary to effect or complete the agreements and the transactions set forth herein.

i.   Severability. Ifany provision ofthis Agreement is determined to be invalid, prohibited, or unenforceablein any
     applicable jurisdiction, then as to such jurisdiction, and provided the essential terms of this Agreement for
     the Parties remain valid, binding, and enforceable, this Agreement shall be ineffective only to the extent of
     such invalid, prohibited, or unenforceable provisions without invalidating the remaining provisions of this
     Agreement or affecting the validity or enforceability of such provisions in any otherjurisdiction. Upon such
     determination that any provision is invalid, prohibited, or unenforceable, the Parties shall negotiate in good
     faith to modify this Agreement so as to effect the original intent of the Parties as closely as possible in a
     mutually acceptable manner in order that the transactions contemplated hereby be consummated as originally
     contemplated to the greatest extent possible.

j.   Entire Agreement. This Agreement, the Schedules and any addenda attached hereto or referenced herein,
     constitute the complete and exclusive statement oftheagreement of the Parties with respectto the subject matter
     of this Agreement, and replace and supersede all prior agreements and negotiations by and between the
     Parties, provided that this Agreement does not supersede the Asset Purchase Agreement. Each Party
     acknowledges and agrees that no agreements, representations, warranties, or collateral promises or
     inducements have been made by any Party to this Agreement except as expressly set forth herein or in the
     Schedules and any addenda attached hereto or referenced herein, and that it has not relied upon any other
     agreement or document, or any verbal statement or act in executing this Agreement. These acknowledgments
     and agreements are contractual and not mere recitals. In the event ofany inconsistency between the provisions
     ofthis Agreement and any Schedule and any addenda attached hereto or referenced herein, the provisions of


                                                         26
2022TW-L-K-2412
            Case 23-10831-MFW                      Doc 3-3        Filed 06/27/23          Page 33 of 35




     this Agreement shall prevail unless expressly stipulated otherwise, in writing executed by the Parties. If there
     is a conflict between this Agreement and pre-printed language on each Party’s forms, for example, purchase
     orders, this Agreement shall prevail.

k.   Binding Effect: Assignment. This Agreement shall be binding on the Parties and their successors and assigns;
     provided, however, that except as allowed in this sub-section,         neither Party shall assign, delegate, or transfer,
     in whole or in part, this Agreement or any of its rights or obligations arising hereunder without the prior
     written consent of the other Party, which shall not be unreasonably withheld. Any purported assignment
     without such consent shall be null and void. Notwithstanding the foregoing:

     i.     Supplier shall have the right to assign its rights to receive monies hereunder without the prior written
            consent of Company; and

     ii.    Supplier shall have the right to delegate its duties under this Agreement to one or more Subsidiaries, in
            which case the Subsidiary shall be solely responsible for performance of the delegated duty. Supplier
            will inform Company in writing within ten business days after exercising such right or assignment or
            delegation.

1.   Waiver. Waiver   by either Party ofany breach of any provision ofthis Agreement shall not be considered as or
     constitute a continuing waiver or a waiver of any other breach of the same or any other provision of this
     Agreement. No waiver shall be effective unless in writing and signed by the waiving Party.

m.   No Third-Party Beneficiaries. Except as expressly set forth in this Section 24.m, this Agreement benefits solely
     the parties to this Agreement and their respective permitted successors and permitted assigns, and nothing in
     this Agreement, express or implied, confers on any other Person any legal or equitable right, benefit or
     remedy of any nature whatsoeverunder or by reason of this Agreement. The Parties hereby designate each
     Indemnified Party as a third-party beneficiary of Section 16 having the right to enforce such Sections.

n.   Headings: Rules of Interpretation. The captions and headings in this Agreement are inserted only as a matter
     of convenience and for reference and in no way define the scope or content of this Agreement orthe
     construction of any provision hereof or of any document or instrument referred to herein. In the event of an
     ambiguity or a question of intent or interpretation arises, this Agreement shall be construed without regard
     to any presumption or rule requiring construction or interpretation against the Party drafting an instrument or
     causing any instrument (or any portion thereof to be drafted. For all purposes of this Agreement, unless
     otherwise expressly provided or unless the context requires otherwise:

     i.     definitions are equally    applicable   to both the singular and plural forms        of the terms    defined, and
            references to the masculine, feminine,     or neuter gender include   each other gender;

     ii.    the words “hereof,” “herein,” and “hereunder” and words of similar import when used in any document
            shall refer to such document as a whole and not to any particular provision of such document;

     ili.   references   to   an   “Attachment,”    “Exhibit,”    “Schedule,”   “Appendix,”     or   “Section”   refer   to   the
            corresponding Attachment, Exhibit,       Schedule, Appendix, or Section of this Agreement;

     iv.    whenever the words “include,” “includes,” and “including” and other words of similar import are used
            in this Agreement, they shall be deemed to be followed by the phrase “without limitation”;

     v.     references to “days” shall mean calendar days, unless the term “business days” shall be used, in which
            case “business day” shall mean any calendar day other than a Saturday, Sunday or USS. national, legal
            or bank holiday;

     vi.    any reference to a Law means such Law as amended from time to time and includes any successor
            legislation thereto and all regulations, rulings, and other Laws promulgated thereunder;




                                                             27
2022TW-L-K-2412
             Case 23-10831-MFW               Doc 3-3         Filed 06/27/23         Page 34 of 35




      vil.   references to any document, instrument, or agreement   mean   such document, instrument, or agreement
             as amended, supplemented, and modified from time to time to the extent permitted by the provisions
             thereof; and

      viil. whenever the word “or” is used in this Agreement, it shall be deemed to be used in the inclusive sense.

0.    Section References. All references to Sections or Schedules shall be deemed to be references to Sections of
      this Agreement and Schedules attached to this Agreement, except to the extent that any such reference
      specifically refers to another document. All references to Sections shall be deemed to also refer to all
      subsections ofsuch Sections, if any.

p.    Business Day. If any time period set forth in this Agreement expires upon a Saturday, Sunday or U.S. national,
      legal, or bank holiday, such period shall be extended to and through the next succeeding business day.

q.    Other Documents. The Parties shall take all such actions and execute all such documents that may be
      necessary to carry out the purposes of this Agreement, whether or not specifically provided for in this
      Agreement.

tr.   Counterparts. This Agreement may be executed by facsimile and delivered in one or more counterparts,
                                                                                                         each
      of which shall be deemed to be an original and all of which, taken together, shall be deemed to be one
      agreement.

s.    Governing Law and Jurisdiction. This Agreement and the interpretation of its terms shall be governed by the
      laws of the State of Ohio, inclusive of the Uniform Commercial Code as adopted in that state, without
      application of conflicts of law principles. The provisions of the United Nations Convention on Contracts for
      the International Sale of Goods shall not apply to this Agreement.

t.    Survival. The provisions of this Agreement which by their very nature are intended to survive the expiration
      or termination of this Agreement, including Sections 3.a.i, 4,5, 12, 14, 15, 16, 17, 18 (for purposes ofany tail
      coverage to be maintained by a Party), 23, 24.a, 24.c, 24.d, 24.n, 24.s, and 24.t, shall survive the expiration,
      cancellation or termination of this Agreement for any reason.


                                             [Signate
                                                 page follows.]




                                                        28
2022TW-L-K-2412
              Case 23-10831-MFW                Doc 3-3         Filed 06/27/23          Page 35 of 35




         IN WITNESS        WHEREOF,       the Parties   have   caused this Agreement    to be executed   by   their duly
authorizedrepresentatives.

  COMPANY:                                                          SUPPLIER:

  LORDSTOWN            EV   CORPORATION                             FOXCONN     _t               LLC

  Al        Hlborcslomd                                             By:      (he

         (Signature)                                                               (Signature)

  Name: Melissa
        Melissa Leonard
                Leonard                                             Name:    Liting
                                                                             Liting Cai
                                                                                    Cal
         (Print)                                                                  (Print)
     _,. EVP,
          EVP, General
                 General Counsel
                         Counsel &
                                 & Secretary
                                   Secretary                          −      Authorized
                                                                             Authorized Officer
                                                                                          Officer
  Title:                                                            Title:

  Die:     05/11/2022
           05/11/2022                                               Date:    05/11/2022
                                                                             05/11/2022




   2022TW-L-K-2412
